                  Case 19-10118-KJC            Doc 2      Filed 01/22/19       Page 1 of 67



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    MAREMONT CORPORATION, et al.,1                            Case No. 19-_____ (___)

                           Debtors.                           (Joint Administration Requested)


         CERTIFICATION OF DEBTORS’ CONSOLIDATED LIST OF CREDITORS

             1.   In accordance with Rule 1007(a) of the Federal Rules of Bankruptcy Procedure and

Rule 1007-2(a) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), a consolidated list of creditors

(the “List”) of Maremont Corporation and its affiliated debtors and debtors in possession

(collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”) is

filed by attachment hereto.

             2.   The undersigned hereby certifies that the List contains the names and addresses of

all creditors of the Debtors that could be ascertained after diligent inquiry, based on a review of

the Debtors’ books and records, and is consistent with the information contained therein, subject

to the exception discussed herein with respect to claimants who have asserted asbestos claims

against any of the Debtors. To the extent practicable, the List complies with Local Rule 1007-2(a).

The Debtors reserve the right to amend or supplement the List as necessary.

             3.   The Debtors have filed a motion concurrently herewith requesting, among other

things, authority to provide the addresses of known counsel of record on the List for claimants who


1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal taxpayer
identification number, are: Maremont Corporation (6138); Maremont Exhaust Products, Inc. (9284); AVM, Inc.
(9285); and Former Ride Control Operating Company, Inc. (f/k/a ArvinMeritor, Inc., a Delaware corporation) (9286).
The mailing address for each Debtor for purposes of these chapter 11 cases is 2135 West Maple Road, Troy, MI
48084.
               Case 19-10118-KJC         Doc 2       Filed 01/22/19   Page 2 of 67



have asserted asbestos claims against any of the Debtors in lieu of listing the addresses of the

claimants themselves (the “Notice Procedures Motion”). Pursuant to the Notice Procedures

Motion, the Debtors have also requested authority to serve all notices, mailings and other

documents required to be provided to asbestos personal injury claimants upon counsel of record

for such claimants.

         4.    The list of law firms representing asbestos claimants who have asserted claims

against the Debtors has been prepared from the books and records of the Debtors, and contains

only those parties whose names and addresses were maintained in the database of the Debtors or

were otherwise readily ascertainable by the Debtors prior to the commencement of the Chapter 11

Cases.

         5.    Although the information contained on the List, including the information with

respect to the law firms representing claimants who have asserted asbestos claims against the

Debtors, is based on a review of the Debtors’ books and records, the Debtors have not completed

a comprehensive legal and/or factual investigation with regard to possible defenses of the Debtors

and their estates to any claims of the potential claimants included on the List. In addition, certain

of the parties included in the List may not hold outstanding claims as of the date hereof, and

therefore may not be creditors of the Debtors and their estates for purposes of the Chapter 11

Cases.




                                                 2
                Case 19-10118-KJC       Doc 2       Filed 01/22/19   Page 3 of 67



           6.   Therefore, the List does not, and should not be deemed or otherwise construed to,

constitute either (i) a waiver of any defenses of the Debtors and their estates to any claims that

may be asserted against the Debtors and their estates or (ii) an acknowledgement or admission of

the validity, priority, or amount of any claims that may be asserted against the Debtors and their

estates.

 Dated: January 22, 2019                               /s/ Carl D. Anderson, II
                                                      Carl D. Anderson, II
                                                      Chairman of the Board and Sole Officer,
                                                      Maremont Corporation




                                                3
                            Case 19-10118-KJC          Doc 2     Filed 01/22/19   Page 4 of 67
ABNEY, SHEILA F                           ACUFF, DERALD E                         ADAMS GILBERT T LAW OFFICES OF
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      GILBERT T ADAMS III
TROY MI 48084                             TROY MI 48084                           1855 CALDER AVE
                                                                                  BEAUMONT TX 77701-1674




ADAMS, ANDREA J                           ADAMS, CATHLENE M                       ADAMS, GUY A
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




ADKINS, DENA A                            ADKINS, SANDRA E                        AKIN, MALINA N
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




AKINS, CALVIN S                           AKINS, CHARLES B                        AKINS, CHARLES L
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




ALBERTSEN, WAYNE                          ALEXANDER, ANDREW R                     ALLEN, DWIGHT W
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




ALLEN, JOHN W                             ALLEN, WILLIAM J                        ALLISON, JUDY A
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




ALLMON, CHARLES D                         ALLRED BROTHERSON AND HARRINGTON PC     ALVAREZ AND MARSAL DISPUTES AND
2135 WEST MAPLE RD                        CLARK ALLRED                            INVESTIGATIONS LLC
TROY MI 48084                             148 S VERNAL AVE STE 101                CHARLES FINCH
                                          VERNAL UT 84078                         1100 WALNUT ST
                                                                                  STE 2970
                                                                                  KANSAS CITY MO 64106


ANANIA BANDKLAYDER BLACKWELL BAUMGARTEN   ANCHOR REPORTING INC                    ANDERSON, CARL D II
TORRICELLA STE                            PO BOX 25471                            MAREMONT CORPORATION ET AL
BANK OF AMERICA TOWER STE 4300            DECATUR IL 62525                        2135 WEST MAPLE RD
MIAMI FL 33131-2144                                                               TROY MI 48084




ANDERSON, CHARLES H                       ANDERSON, GEORGE M                      ANDERSON, LINDA S
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




ANDERSON, MARCIA IRENE                    ANDERSON, SANDRA J                      ANDREW, PAUL B
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




                                                Page: 1 of 64
                                 Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 5 of 67
ANTHONY L ANIA ATTORNEY AT LAW             ANTION MCGEE LAW GROUP PLLC              ARDEN, EDGAR R
ANTHONY L ANIA                             SCOTT MCGEE                              2135 WEST MAPLE RD
34501 SOUTHSIDE PK DR                      341 CHAPLIN RD SECOND FL STE B           TROY MI 48084
SOLON OH 44139                             MORGANTOWN WV 26501




ARDEN, LEE ANN                             ARIZONA ATTORNEY GENERAL'S OFFICE        ARWOOD, BILLY J
2135 WEST MAPLE RD                         PO BOX 6123                              2135 WEST MAPLE RD
TROY MI 48084                              MD 7611                                  TROY MI 48084
                                           PHOENIX AZ 85005-6123




ARWOOD, PAULETTA                           ARWOOD, RODGER D                         ASHCRAFT AND GEREL
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       NATHAN M PEAK
TROY MI 48084                              TROY MI 48084                            18 TREMONT ST
                                                                                    BOSTON MA 02108




ATKINS, HAROLD D                           ATKINS, TERRY L                          ATKINSON, MICHAEL A
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




ATKINSON, TINA D                           AVEY, DALTON K                           AVM INDUSTRIES LLC
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       TODD GREVE MANAGER OF ENGINEERING &
TROY MI 48084                              TROY MI 48084                            QUALITY
                                                                                    144 TRANQUILL CHURCH RD
                                                                                    MULLINS SC 29571




AYERS, CECIL W                             BABB, MICHAEL D                          BAILEY PEAVY BAILEY COWAN HECKAMAN PLLC
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       CAMP BAILEY
TROY MI 48084                              TROY MI 48084                            MARATHON OIL TOWER
                                                                                    HOUSTON TX 77056




BAILEY, JESSIE L                           BAILEY, RICHARD D                        BAKER, ANTHONY D
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




BAKER, JOHNN K                             BAKER, WILLIAM J                         BAKER, WILLIAM K
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




BALBO, PATRICK J                           BALICK AND BALICK LLC                    BALL STEPHEN C LAW OFFICES OF
2135 WEST MAPLE RD                         ADAM BALICK                              STEPHEN C BALL
TROY MI 48084                              711 N KING ST                            20 N RAYMOND AVE
                                           WILMINGTON DE 19801                      PASADENA CA 91103




BALL, MICHAEL G                            BALLARD, DOUGLAS L                       BALLINGER, GLENNA F
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




                                                  Page: 2 of 64
                             Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 6 of 67
BANDY, DAVID R                         BANDY, ERIC S                            BANDY, RONALD D
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




BANK OF AMERICA                        BANK OF AMERICA MERRILL LYNCH            BARCLAY, NAOMAH A
KAREN LY                               1401 ELM ST                              2135 WEST MAPLE RD
BANK OF AMERICA TOWER                  2ND FLOOR                                TROY MI 48084
ONE BRYANT PARK                        DALLAS TX 75202
NEW YORK NY 10036




BARKER, CHRISTOPHER L                  BARNBY, RONALD E                         BARNES, JAMES R
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




BARNETT, MELISSA A                     BARNETT, RICHARD L                       BARNETT, RONALD G
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




BARNETT, WILLIAM R                     BARNETTE, LESTER D                       BARON AND BUDD PC
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       STEVEN BARON
TROY MI 48084                          TROY MI 48084                            3102 OAK LAWN AVE
                                                                                DALLAS TX 75219




BARRY MCTIERNAN AND MOORE              BASHEIN AND BASHEIN CO LPA               BATES WHITE LLC
2 RECTOR ST                            W CRAIG BASHEIN                          1300 EYE ST NW
14TH FL                                TERMINAL TOWER 35TH FL                   STE 600
NEW YORK NY 10006                      CLEVELAND OH 44113                       WASHINGTON DC 20005




BATIGNANI, MICHAEL G                   BAXTER, BRIAN K                          BAXTER, DARRELL W
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




BEALS, RONNIE K                        BEASON, DOUGLAS R                        BEASON, FRED
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




BEATY, NARVEL C                        BEAVER, SCOTT M                          BECK, CHRISTOPHER A
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




BECKER GALANTI AND SHROADER PC         BEELER, JUSTIN D                         BEELER, MARION A
GREGORY A BECKER                       2135 WEST MAPLE RD                       2135 WEST MAPLE RD
3673 HIGHWAY 111                       TROY MI 48084                            TROY MI 48084
GRANITE CITY IL 62040




                                             Page: 3 of 64
                              Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 7 of 67
BELL BUDDY ATTORNEY                     BELL, JEFFERY D                          BELL, KELLY M
JAMES P BELL                            2135 WEST MAPLE RD                       2135 WEST MAPLE RD
800 NORTH SHORELINE STE 700             TROY MI 48084                            TROY MI 48084
CORPUS CHRISTI TX 78401




BELLUCK AND FOX LLP                     BENNETT LAW FIRM                         BENNETT, HUBERT E
JOSEPH BELLUCK                          LINDSAY H BENNETT JR                     2135 WEST MAPLE RD
546 FIFTH AVE                           500 CHICKAMAUGA AVE                      TROY MI 48084
NEW YORK NY 10036                       ROSSVILLE GA 30741




BERGMAN DRAPER OSLUND PLLC              BERRONG, ERNEST W                        BERRY, CHARLES H
MATTHEW P BERGMAN                       2135 WEST MAPLE RD                       2135 WEST MAPLE RD
821 2ND AVE                             TROY MI 48084                            TROY MI 48084
SEATTLE WA 98104




BERRY, DAVID H                          BEST, CLIFFORD M                         BEST, DAVID
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




BEST, LONNIE                            BEST, RALPH L                            BEST, TIMOTHY R
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




BEST, WILLIE                            BETHUNE, TRACY M                         BEVAN AND ASSOCIATES LPA INC
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       THOMAS W BEVAN
TROY MI 48084                           TROY MI 48084                            6555 DEAN MEMORIAL PKWY
                                                                                 BOSTON HEIGHTS OH 44236




BEVIS CAMERON AND JOHNSON               BEVIS THIRY SCHINDELE PA                 BIALY, PAUL
960 BROADWAY AVE STE 220                JAMES A BEVIS                            MAREMONT CORPORATION ET AL
PO BOX 827                              412 E PARKCENTER BLVD STE 211            2135 WEST MAPLE RD
BOISE ID 83706-3667                     BOISE ID 83706                           TROY MI 48084




BIDDLE, ROBERT L                        BINGHAM GREENEBAUM DOLL LLP              BINGHAM, TIMOTHY M
2135 WEST MAPLE RD                      3500 NATIONAL CITY TOWER                 2135 WEST MAPLE RD
TROY MI 48084                           101 SOUTH FIFTH ST                       TROY MI 48084
                                        LOUISVILLE KY 40202-3197




BISHOP, BILLY F                         BISHOP, JERRY LEWIS                      BISHOP, ROBERT A
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




BIVENS, ALICE A                         BIVENS, CAROLYN A                        BIVENS, JANIE S
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




                                               Page: 4 of 64
                           Case 19-10118-KJC      Doc 2       Filed 01/22/19   Page 8 of 67
BIVENS, JOYCE A                      BIVENS, SHERRY A                          BIVENS, WILLIAM S
2135 WEST MAPLE RD                   2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                        TROY MI 48084                             TROY MI 48084




BLACKWELL AND ASSOCIATES             BLAIR, ADAM E                             BLANCHARD, EARL C
BRIAN F BLACKWELL                    2135 WEST MAPLE RD                        2135 WEST MAPLE RD
PO BOX 84464                         TROY MI 48084                             TROY MI 48084
BATON ROUGE LA 70884




BLANKENSHIP, BRUCE A                 BLANKENSHIP, RICHARD W                    BLANKENSHIP, WENDY E
2135 WEST MAPLE RD                   2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                        TROY MI 48084                             TROY MI 48084




BLEDSOE, JEREMY S                    BLEVINS, GERALD L                         BLEY AND EVANS LC
2135 WEST MAPLE RD                   2135 WEST MAPLE RD                        WALTER H BLEY
TROY MI 48084                        TROY MI 48084                             1000 W NIFONG BLVD #200
                                                                               COLUMBIA MO 65203




BOECHLER PC                          BOHANAN, TOMMY R                          BOLES, RITA F
JEANETTER BOECHLER                   2135 WEST MAPLE RD                        2135 WEST MAPLE RD
802 1ST AVE NORTH                    TROY MI 48084                             TROY MI 48084
FARGO ND 58102




BOLEWARE, WILLIE A                   BOLT, BILLY E                             BOLT, HOMER L
2135 WEST MAPLE RD                   2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                        TROY MI 48084                             TROY MI 48084




BOLTON, HAROLD W                     BONEZZI SWITZER POLITO AND HUPP CO LPA    BOOHER, ORA M
2135 WEST MAPLE RD                   1300 EAST 9TH ST                          2135 WEST MAPLE RD
TROY MI 48084                        STE 1950                                  TROY MI 48084
                                     CLEVENAND OH 44114




BOOTH AND MCCARTHY                   BORDERS, ALAN R                           BORNE, RANDALL J
CHRISTOPHER MCCARTHY                 2135 WEST MAPLE RD                        2135 WEST MAPLE RD
901 WEST MAIN ST                     TROY MI 48084                             TROY MI 48084
BRIDGEPORT WV 26330




BORNEBY, HANS G                      BOWEN, JASON A                            BOWERS, RENEE L
2135 WEST MAPLE RD                   2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                        TROY MI 48084                             TROY MI 48084




BOYATT, JEFFERY S                    BOYER, FREDERICK                          BRADLEY, JAMIE L
2135 WEST MAPLE RD                   MAREMONT CORPORATION ET AL                2135 WEST MAPLE RD
TROY MI 48084                        2135 WEST MAPLE RD                        TROY MI 48084
                                     TROY MI 48084




                                           Page: 5 of 64
                            Case 19-10118-KJC       Doc 2    Filed 01/22/19   Page 9 of 67
BRADSHAW, LEO A                        BRANDON, PAUL D                        BRANDON, PHILLIP J
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                     2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                          TROY MI 48084




BRANDON, ROBIN A                       BRANSON, EDYE J                        BRANSTETTER STRANCH AND JENNINGS PLLC
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                     CECIL D BRANSTETTER
TROY MI 48084                          TROY MI 48084                          227 SECOND AVE NORTH
                                                                              ADAMS TN 37201




BRASHEARS, ANNA R                      BRAUN, DEBBIE K                        BRAYTON PURCELL LLP
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                     GILBERT PURCELL
TROY MI 48084                          TROY MI 48084                          222 RUSH LANDING RD
                                                                              NOVATO CA 94948




BRAYTON PURCELL LLP                    BREEDEN, KENNETH W                     BREEDEN, LORENE L
222 RUSH LANDING RD                    2135 WEST MAPLE RD                     2135 WEST MAPLE RD
PO BOX 6169                            TROY MI 48084                          TROY MI 48084
NOVATO CA 94948-6169




BRENNER, NASS CANCELLIERE              BRENT COON AND ASSOCIATES              BREWER, JACK H
EDWARD M NASS                          BRENT COON                             2135 WEST MAPLE RD
1515 MARKET ST STE 2000                4849 GREENVILLE AVE                    TROY MI 48084
PHILADELPHIA PA 19102                  DALLAS TX 75206




BREWSTER, ANTHONY                      BREWSTER, LEONARD                      BREWSTER, SHIRLEY J
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                     2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                          TROY MI 48084




BRIAN A TAYLOR MD                      BRICKMAN, JACK P                       BRIGGS AND MORGAN PA
224 SOUTH WOODS MILL RD                JACK P BRICKMAN                        80 SOUTH 8TH ST
STE 435 SOUTH                          42 BROAD ST                            STE 2200
CHESTERFIELD MO 63017                  CHARLESTON SC 29402                    MINNEAPOLIS MN 55402




BRIGHT, BRENDA A                       BRIGHT, KENNETH M                      BRIGHT, PATRICIA J
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                     2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                          TROY MI 48084




BRITTON, JACKIE J                      BROGAN DONOVAN REPORTING PC            BROGDON, HERSHELL P
2135 WEST MAPLE RD                     10610 SOUTH LAWNDALE AVE               2135 WEST MAPLE RD
TROY MI 48084                          CHICAGO IL 60655                       TROY MI 48084




BROOKMAN ROSENBERG BROWN AND SANDLER   BROOKMAN ROSENBERG BROWN AND SANDLER   BROOKS, RENA J
1 PENN SQUARE WEST                     LAURENCE H BROWN                       2135 WEST MAPLE RD
30 SOUTH 15TH ST                       ONE PENN SQUARE WEST 17TH FL           TROY MI 48084
PHILADELPHIA PA 19102                  17TH FL
                                       PHILADELPHIA PA 19102




                                             Page: 6 of 64
                              Case 19-10118-KJC      Doc 2    Filed 01/22/19   Page 10 of 67
BROWN GOULD AND KIELY                    BROWN, ANITA G                         BROWN, BRADLEY R
DANIEL BROWN                             2135 WEST MAPLE RD                     2135 WEST MAPLE RD
7316 WISCONSIN AVE                       TROY MI 48084                          TROY MI 48084
BETHESDA MD 20814




BROWN, CHARLES A                         BROWN, DEBORAH S                       BROWN, DENNIS W
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                     2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                          TROY MI 48084




BROWN, JENNIFER A                        BROWN, JIMMY L                         BROWN, JUDY A
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                     2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                          TROY MI 48084




BROWN, KAREN E                           BROWN, LARRY D                         BROWN, LEE A
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                     2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                          TROY MI 48084




BROWN, LESLIE M                          BROWN, NANCY E                         BROWN, PAUL A
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                     2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                          TROY MI 48084




BROWN, RICHARD C                         BROWN, ROCKY W                         BROWN, RONALD E
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                     2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                          TROY MI 48084




BROWN, ROY D                             BROWN, TERRY L                         BROWN, WILLIAM D
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                     2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                          TROY MI 48084




BRUCE G, CASSIDY                         BRUEGGER AND MCCULLOUGH PC             BRUMMITT, TAMMY L
BRUCE G CASSIDY                          MICHAEL MCCULLOGH JR                   2135 WEST MAPLE RD
STE 1040                                 9400 NORTH CENTRAL EXPWY               TROY MI 48084
PHILADELPHIA PA 19107                    DALLAS TX 75231




BRZYTWA QUICK AND MCCRYSTAL              BUBULKA, JOHN S                        BUCK LAW FIRM
E JOHN BRZYTWA JR                        2135 WEST MAPLE RD                     ROBERT BUCK
1660 W 2ND ST                            TROY MI 48084                          3930 EAST JONES BRIDGE RD
CLEVELAND OH 44113                                                              PEACHTREE CORNERS GA 30092




BUCKNER, SHIRLEY K                       BUHL, CRAIG T                          BULLARD, JEFFREY F
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                     2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                          TROY MI 48084




                                               Page: 7 of 64
                                Case 19-10118-KJC      Doc 2       Filed 01/22/19   Page 11 of 67
BURKHOLDER, COLIN L                        BURNETT, BURL L                           BURNETTE, TERRY D
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                             TROY MI 48084




BURNSWORTH, DAVID Z                        BURRIS, CANDY K                           BURRIS, DWAYNE K
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                             TROY MI 48084




BURRIS, RICKY L                            BURRIS, WILLIE A                          BURROW AND PARROTT LLC
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                        JUSTIN D BURROW
TROY MI 48084                              TROY MI 48084                             1301 MCKINNEY STE 3500
                                                                                     HOUSTON TX 77010-3092




BURTON, WILLIAM F                          BUSE, LYLE JAY                            BUSH, KENNETH G
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                             TROY MI 48084




BUTLER, CHRIS B                            BUTLER, RANDELL E                         BUTTRAM, JAMES OLIVER
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                             TROY MI 48084




CALHOUN ANDERSON JR PC                     CAMPBELL CHERRY HARRISON DAVIS DOVE       CAMPBELL, JOSEPH W
N CALHOUN ANDERSON JR                      5 RITCHIE RD                              2135 WEST MAPLE RD
340 EISENHOWER DR BUILDING300              WACO TX 76712                             TROY MI 48084
SAVANNAH GA 31416




CANNELLA LAW FIRM LLC                      CANSLER, SUE                              CANTRELL, DAVID B
DAVID CANNELLA                             2135 WEST MAPLE RD                        2135 WEST MAPLE RD
829 BARONNE ST                             TROY MI 48084                             TROY MI 48084
NEW ORLEANS LA 70113




CANTRELL, GARY R                           CAPLINGER, JEFFREY A                      CARDIN, ROBERT L
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                             TROY MI 48084




CARDNO CHEMRISK LLC                        CAREY DANIS AND LOWE                      CARLSON, INA L
DEPT 3473                                  JOHN J CAREY                              2135 WEST MAPLE RD
PO BOX 123473                              8235 FORSYTH STE 1100                     TROY MI 48084
DALLAS TX 75312-3473                       ST. LOUIS MO 63105




CARNEY, KATIE S                            CAROSELLI BEACHLER AND COLEMAN LLC        CARPENTER AND STOUT LTD
2135 WEST MAPLE RD                         EDWIN H BEACHLER                          WILLIAM H CARPENTER
TROY MI 48084                              312 BLVD OF THE ALLIES                    1600 UNIVERSITY BLVD
                                           PITTSBURGH PA 15222                       ALBUQUERQUE NM 87102




                                                 Page: 8 of 64
                               Case 19-10118-KJC      Doc 2       Filed 01/22/19   Page 12 of 67
CARPER, DEBORAH JENKINS                   CARROLL, ELLARD P                         CARROLL, JOHN P
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                             TROY MI 48084




CARROLL, WILMA L                          CARTEE AND MORRIS LLC                     CARTER, BRIAN S
2135 WEST MAPLE RD                        JONATHAN W CARTEE                         2135 WEST MAPLE RD
TROY MI 48084                             2325 HENRY ST                             TROY MI 48084
                                          GUNTERSVILLE AL 35976




CARTER, JERRY L                           CARTWRIGHT, JAMES H                       CASCINO VAUGHAN LAW OFFICES LTD
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                        MICHAEL CASCINO
TROY MI 48084                             TROY MI 48084                             220 SOUTH ASHLAND AVE
                                                                                    CHICAGO IL 60607




CASSIDY AND MOTTL                         CATER, ELMER                              CELLINO AND BARNES PC
6285 PEARL RD                             77 MAGNOLIA ACRES RD                      ROSS CELLINO
PERMA HEIGHTS OH 44130                    NATCHEZ MS 39120-9554                     420 LEXINGTON AVE
                                                                                    NEW YORK NY 10170




CELLINO AND BARNES PC                     CENTERS, TRAVIS W                         CHADWELL, PAMELA K
25 MAIN PL TOWER                          2135 WEST MAPLE RD                        2135 WEST MAPLE RD
BUFFALO NY 14202                          TROY MI 48084                             TROY MI 48084




CHADWICK, ROXIE A                         CHAI, WEN B                               CHANEY, BETTY
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                             TROY MI 48084




CHANEY, BLAKE A                           CHARGOIS AND HERRON LLP                   CHARLES BARNUM PC
2135 WEST MAPLE RD                        DAMON J CHARGOIS                          CHARLES BARNUM
TROY MI 48084                             16903 RED OAK DR                          PO BOX 6400
                                          HOUSTON TX 77090                          ROCK SPRINGS WY 82901




CHARLES E III, GIBSON                     CHEATHAM, CAROLE J                        CHEEKS, JAMES B
CHARLES E GIBSON III PRINCIPAL            2135 WEST MAPLE RD                        2135 WEST MAPLE RD
620 NORTH STATE STREETSTE 102A            TROY MI 48084                             TROY MI 48084
JACKSON MS 39207-3493




CHEVERIE ROBERT M AND ASSOCIATES          CHILDERS BUCK AND SCHLUETER LLP           CHILDRESS, BERLEY
ROBERT M CHEVERIE                         C ANDREW CHILDERS                         2135 WEST MAPLE RD
900 ASYLUM AVE                            260 PEACHTREE ST NW                       TROY MI 48084
HARTFORD CT 06105                         ATLANTA GA 30303




CHODOS AND ASSOCIATES                     CHRIS PARKS PC                            CHRISTMAS, KIM
DAVID M CHODOS                            CHRISTOPHER PARKS                         2135 WEST MAPLE RD
1880 CENTURY PK EAST STE 615              1 PLZ SQUARE                              TROY MI 48084
LOS ANGELES CA 90067                      PORT ARTHUR TX 77642




                                                 Page: 9 of 64
                          Case 19-10118-KJC      Doc 2     Filed 01/22/19   Page 13 of 67
CICONTE SCERBA LLC                   CLAPPER PATTI SCHWEIZER AND MASON       CLARK, CHRISTIN G
EDWARD T CICONTE                     STEVEN J PATTI                          2135 WEST MAPLE RD
1300 KING ST                         2330 MARINSHIP WAY                      TROY MI 48084
WILMINGTON DE 19899                  SAUSALITO CA 94965




CLARK, JAMES C                       CLARK, JOHN W                           CLARK, TAMMY S
2135 WEST MAPLE RD                   2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                        TROY MI 48084                           TROY MI 48084




CLARK, TRAVIS E                      CLARK, WILLIAM D                        CLEMMER, CINDY M
2135 WEST MAPLE RD                   2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                        TROY MI 48084                           TROY MI 48084




CLEMMER, KATHY L                     CLEMONS, JACOB A                        CLEMONS, JOSHUA W
2135 WEST MAPLE RD                   2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                        TROY MI 48084                           TROY MI 48084




CLETUS P ERNSTER III PC              CLIMACO LEFKOWITZ PECA WILCOX AND       CLINE, DEBORAH D
CLETUS P ERNSTER                     GAROFOLI CO LPA                         2135 WEST MAPLE RD
2700 POST OAK BLVD                   JOHN R CLIMACO                          TROY MI 48084
HOUSTON TX 77056                     1228 EUCLID AVE
                                     CLEVELAND OH 44115




CLINE, JOHN N                        CLOWERS, JAMES R                        COADY LAW FIRM
2135 WEST MAPLE RD                   2135 WEST MAPLE RD                      EDWARD COADY
TROY MI 48084                        TROY MI 48084                           205 PORTLAND ST
                                                                             BOSTON MA 02114




COFFEY, MICHAEL D                    COGDILL, JASON L                        COHEN PLACITELLA AND ROTH PC
2135 WEST MAPLE RD                   2135 WEST MAPLE RD                      CHRISTOPHER M PLACITELLA
TROY MI 48084                        TROY MI 48084                           127 MAPLE AVE
                                                                             RED BANK NJ 07701




COHN AND SWARTZON PC                 COLE, STUART C                          COLEY, CLIFFORD E
JASON D COHN                         2135 WEST MAPLE RD                      2135 WEST MAPLE RD
1851 EAST FIRST ST                   TROY MI 48084                           TROY MI 48084
SANTA ANA CA 92705




COLLIER, ELMER                       COLLINS, H STEVE                        COLLINS, JAMA L
2135 WEST MAPLE RD                   2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                        TROY MI 48084                           TROY MI 48084




COLLINS, LISA H                      COLLINS, SANDY L                        COLLIS, JANIS F
2135 WEST MAPLE RD                   2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                        TROY MI 48084                           TROY MI 48084




                                           Page: 10 of 64
                             Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 14 of 67
COLOM LAW FIRM LLC                      COLVARD, DAVID W                         COLVARD, GENE W
WILBUR COLOM                            2135 WEST MAPLE RD                       2135 WEST MAPLE RD
406 THIRD AVE NORTH                     TROY MI 48084                            TROY MI 48084
COLUMBUS MS 39703-0866




COLVIN, SHANA L                         CONASTER, JENNIFER H                     CONATSER, JOHN E
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




CONNELLY AND VOGELZANG LLC              CONRAD, DAVID C                          CONWAY AND MARTIN
WILLIAM CONNELLY                        2135 WEST MAPLE RD                       WARREN LEON CONWAY
218 NORTH JEFFERSON ST                  TROY MI 48084                            1600 24TH AVE
CHICAGO IL 60661                                                                 GULFPORT MS 39503




COOK HALL AND LAMPROS LLP               COOK PORTUNE AND LOGOTHETIS              COOK, ANGELIQUE MAE
CHRISTOPHER B HALL                      DAVID M COOK                             2135 WEST MAPLE RD
PROMENADE TWO STE 3700                  22 WEST NINTH ST                         TROY MI 48084
ATLANTA GA 30309                        CINCINNATI OH 45202




COOK, BRANDON S                         COOK, JEFFREY D                          COOK, JOHN W
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




COOK, KEVIN L                           COONEY AND CONWAY                        COONEY AND CONWAY
2135 WEST MAPLE RD                      JOHN COONEY                              120 NORTH LASALLE ST
TROY MI 48084                           120 NORTH LASALLE ST                     STE 3000
                                        CHICAGO IL 60602                         CHICAGO IL 60602




COOPER HART LEGGIERO AND WHITEHEAD      COPPOCK, CHRISTOPHER M                   CORY WATSON CROWDER AND DEGARIS PC
BRAD COOPER                             2135 WEST MAPLE RD                       LEILA H WATSON
10655 SIX PINES DRIVES #260             TROY MI 48084                            2131 MAGNOLIA AVE STE 200
THE WOODLANDS TX 77380                                                           BIRMINGHAM AL 35205




COVINGTON, BRIAN L                      COVINGTON, JOHN M                        COVINGTON, PENNY J
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




COX, DAVID M                            COX, JASON A                             COX, JESS T
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




COX, WILLIAM E                          COX, WILLIAM F                           COZART, JUSTIN D
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




                                              Page: 11 of 64
                                Case 19-10118-KJC      Doc 2     Filed 01/22/19   Page 15 of 67
CRABTREE, SHANNON E                        CRAIG, FLOYD R                          CRAIG, FREDDIE J
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                           TROY MI 48084




CRAIG, STACY R                             CRASS, TRUDY D                          CRASS, WILLIAM J
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                           TROY MI 48084




CRAWLEY, GLENDA J                          CRAWLEY, JENNY S                        CREESMAN, ANGELA D
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                           TROY MI 48084




CREGOJR, ROBERT E                          CRISP, GEORGE W                         CRISP, SHARON K
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                           TROY MI 48084




CROMWELL, MICHAEL D                        CROOK, ROBERTA J                        CRYAN, JOSEPH P
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                           TROY MI 48084




CT CORP SYSTEM                             CULVAHOUSE, BOBBY R                     CUMBEST CUMBEST HUNTER AND MCCORMICK PC
PO BOX 4349                                2135 WEST MAPLE RD                      DAVID O MCCORMICK
CAROL STREAM IL 60197-4349                 TROY MI 48084                           PO BOX 1287
                                                                                   PASCAGOULA MS 39568-1425




CURTIS, AMY L                              CURTIS, DAVID E                         CURTIS, JEREMY D
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                           TROY MI 48084




CURTIS, SUSAN F                            CURTIS, WILLIAM S                       CUSTEAD, ROBERT W
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                           TROY MI 48084




D WILLIAM VENABLE PA                       DAILEY, HAROLD H                        DAILEY, LELA M
D WILLIAM VENABLE ESQ                      2135 WEST MAPLE RD                      2135 WEST MAPLE RD
205 SOUTH HOOVER BLVD STE 202              TROY MI 48084                           TROY MI 48084
TAMPA FL 33609




DAILEY, MOULTRY G                          DALTON AND ASSOCIATES PA                DALTON AND ASSOCIATES PA
2135 WEST MAPLE RD                         BARTHOLOMEW J DALTON DIRECTOR           ANDREW C DALTON
TROY MI 48084                              1106 WEST TENTH ST                      1106 WEST TENTH ST
                                           WILMINGTON DE 19806                     WILMINGTON DE 19806




                                                 Page: 12 of 64
                               Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 16 of 67
DANAHER TEDFORD LAGNESE AND NEAL PC       DANIEL, ROSS B                           DANIELS, AMANDA A
R CORNELIUS DANAHER JR PRINCIPAL          2135 WEST MAPLE RD                       2135 WEST MAPLE RD
21 OAK ST                                 TROY MI 48084                            TROY MI 48084
HARTFORD CT 06106




DANNENFELDT, DAN T                        DAUGHERTY, WILLIAM G                     DAVID C THOMPSON ATTORNEY AT LAW PC
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       DAVID C THOMPSON ESQ
TROY MI 48084                             TROY MI 48084                            321 KITTSON AVE
                                                                                   GRAND FORKS ND 58206-5235




DAVID P KOWNACKI PC                       DAVIS AND FEDER                          DAVIS, BETTY J
DAVID P KOWNACKI ESQ                      MARK DAVIS PARTNER                       2135 WEST MAPLE RD
122 EAST 42ND ST                          PO BOX 6829                              TROY MI 48084
NEW YORK NY 10168                         GULFPORT MS 39506




DAVIS, JOHN W                             DAVIS, JOSEPH A                          DAVIS, KATHY A
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




DAVIS, KEITH D                            DAVIS, KENNY R                           DAVIS, LARRY R
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




DAVIS, MARTIN W                           DAVIS, PHIL S                            DAVIS, STEPHANIE D
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




DAVIS, WILLIAM M                          DAWSON, WILLIAM R                        DAY, MARY MARGARET
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




DEAKIN, SUSAN M                           DEAN OMAR AND BRANHAM LLP                DEAN, QUENTIN K
2135 WEST MAPLE RD                        JESSICA DEAN                             2135 WEST MAPLE RD
TROY MI 48084                             302 N MARKET ST                          TROY MI 48084
                                          DALLAS TX 75202




DEARIE JOHN C AND ASSOCIATES              DEASIS, ARMANDO E                        DEBLASE BROWN EYERLY LLP
JOHN C DEARIE PARTNER                     2135 WEST MAPLE RD                       PATRICK DEBLASE PARTNER
515 MADISON AVE                           TROY MI 48084                            10990 WILSHIRE BLVD
NEW YORK NY 10022                                                                  LOS ANGELES CA 90024




DECKER, WILLIAM A                         DEES, CHARLES E                          DELAWARE ATTORNEY GENERAL
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       BANKRUPTCY DEPT
TROY MI 48084                             TROY MI 48084                            CARVEL STATE OFFICE BUILDING
                                                                                   820 N FRENCH ST 6TH FL
                                                                                   WILMINGTON DE 19801




                                                Page: 13 of 64
                              Case 19-10118-KJC       Doc 2      Filed 01/22/19   Page 17 of 67
DELAWARE DIVISION OF REVENUE              DELAWARE SECRETARY OF STATE              DELAWARE SECRETARY OF STATE
ZILLAH A FRAMPTON                         DIV OF CORPORATIONS FRANCHISE TAX        DIVISION OF CORPORATIONS
CARVEL STATE OFFICE BUILD 8TH FLOOR       PO BOX 898                               401 FEDERAL ST STE 4
820 N FRENCH ST                           DOVER DE 19903                           DOVER DE 19901
WILMINGTON DE 19801




DELAWARE STATE TREASURY                   DEMARCO AND CARRAFIELLO                  DENTON, JOHN H
BANKRUPTCY DEPT                           PERRY DEMARCO PARTNER                    2135 WEST MAPLE RD
820 SILVER LAKE BLVD                      1420 WALNUT ST                           TROY MI 48084
STE 100                                   PHILADELPHIA PA 19102
DOVER DE 19904




DEROBERTIS AND WAXMAN LLP                 DEUTSCH KERRIGAN LLP                     DEVANEY, DAWN L
L RICHARD DEROBERTIS                      755 MAGAZINE ST                          2135 WEST MAPLE RD
610 WARD AVE SECOND FL0OR                 NEW ORLEANS LA 70130-3672                TROY MI 48084
HONOLULU HI 96814




DEVANEY, EDGAR J                          DEVANEY, MITCHELL E                      DEVANEY, ROY L
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




DEVAULT, KENNETH R                        DEWITT, JAMIE N                          DICKEY LAW FIRM LLC
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       NAME D SCHUMACHER OFFICE MANAGER
TROY MI 48084                             TROY MI 48084                            4387 LACLEDE STE A
                                                                                   SAINT LOUIS MO 63108




DIES AND HILE LLP                         DIETER, CRAIG R                          DILL, WAYNE E
RICHARD C HILE PARTNER                    2135 WEST MAPLE RD                       2135 WEST MAPLE RD
1009 WEST GREEN                           TROY MI 48084                            TROY MI 48084
ORANGE TX 77630




DILLS, MICHAEL E                          DOBIE, TIMOTHY G                         DOCKERY, DALE M
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




DOFFERMYRE SHIELDS CANFIELD KNOWLES AND   DOLAN XITCO CONSULTING GROUP             DOLLAR GENERAL CORP
DEVIN LLC                                 501 W BROADWAY ST                        LEASE ADMINISTRATION
PETER CANFIELD                            STE 710                                  100 MISSION RIDGE
1355 PEACHTREE ST                         SAN DIEGO CA 92101                       GOODLETTSVILLE TN 37072
ATLANTA GA 30309




DOTSON, LINDA T                           DOTSON, RONNIE D                         DRURY, WILLIAM A
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




DUEL, EDWARD                              DUFFIELD LOVEJOY STEMPLE AND BOGGS       DUGGAN, ALVA J
2135 WEST MAPLE RD                        DAVID L DUFFIELD PARTNER                 2135 WEST MAPLE RD
TROY MI 48084                             3139 16TH ST RD                          TROY MI 48084
                                          HUNTINGTON WV 25701




                                                Page: 14 of 64
                        Case 19-10118-KJC       Doc 2        Filed 01/22/19   Page 18 of 67
DUGGAN, JOSEPH A                   DUGGAN, MICHAEL A                           DULIN AND DULIN LTD
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                          JAMES T DULIN JR PARTNER
TROY MI 48084                      TROY MI 48084                               903 28TH ST
                                                                               GULFPORT MS 39501




DUNCAN, CHRISTOPHER S              DUNCAN, JOHN M                              DUNCAN, JOSEPH MICHAEL
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                               TROY MI 48084




DUNCAN, SHAWN C                    DUNCAN, TIMOTHY M                           DUNKER, NICKIE ANN
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                               TROY MI 48084




DUROCHER, JEFFERY S                DUTTON BRAUN STAACK AND HELLMAN PLC         DUTTON, JEANNIE A
2135 WEST MAPLE RD                 DAVID J DUTTON PARTNER                      2135 WEST MAPLE RD
TROY MI 48084                      3151 BROCKWAY RD                            TROY MI 48084
                                   WATERLOO IA 50701




DYER, JAMES C                      DYER, LUTHER O                              DYER, MATTHEW B
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                               TROY MI 48084




DYKES, LAVONDA J                   EARLY LUCARELLI SWEENEY AND MEISENKOTHEN    EARLY LUCARELLI SWEENEY AND MEISENKOTHEN
2135 WEST MAPLE RD                 CHRISTOPHER MEISENKOTHEN                    CHRISTOPHER MEISENKOTHEN
TROY MI 48084                      ONE CENTURY TOWER 11TH FL                   360 LEXINGTON AVE
                                   NEW HAVEN CT 06508                          NEW YORK NY 10017




EASLEY SITE TRUST                  EASTER, LANCE D                             EASTER, RUTH M
PO BOX 1689                        2135 WEST MAPLE RD                          2135 WEST MAPLE RD
EASLEY SC 29641                    TROY MI 48084                               TROY MI 48084




EATON, DAVID L                     EDMISTON, SHERMAN K III                     EDWARD O MOODY PA
2135 WEST MAPLE RD                 27 ALBANY AVE                               EDWARD ODELL MOODY PARTNER
TROY MI 48084                      STE 601                                     801 WEST FOURTH
                                   BROOKKLYN NY 11216                          LITTLE ROCK AR 72201




EDWARDS, CHESTER R                 EILANDER, BRETT                             EILERMAN, ROBERT S
2135 WEST MAPLE RD                 MAREMONT CORPORATION ET AL                  2135 WEST MAPLE RD
TROY MI 48084                      2135 WEST MAPLE RD                          TROY MI 48084
                                   TROY MI 48084




EILERMAN, SHERRY L                 ELAM, HUBERT P                              ELDRIDGE, FRANK J
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                               TROY MI 48084




                                         Page: 15 of 64
                            Case 19-10118-KJC          Doc 2       Filed 01/22/19   Page 19 of 67
ELLINGTON, CARRIE LEE                      ELLIOTT, KANDI G                          ELLISON, BRIAN A
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                             TROY MI 48084




ELLISON, RICKY L                           ELLISON, SANDRA ANITA                     ELSASS WALLACE EVANS CO LPA
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                        RICHARD WALLACE
TROY MI 48084                              TROY MI 48084                             100 SOUTH MAIN AVE STE 102
                                                                                     SIDNEY OH 45365




ELSASS WALLACE EVANS SCHNELLE AND CO LPA   ELY BETTINI ULMAN AND ROSENBLATT          EMBORSKY, ANDREW J
100 SOUTH MAIN AVE                         HERB ELY PARTNER                          2135 WEST MAPLE RD
STE 102                                    3200 N CENTRAL AVE                        TROY MI 48084
SIDNEY OH 45368-0499                       PHOENIX AZ 85012




EMBRY AND NEUSNER                          ENS, JEREMY S                             ENSAFE INC
STEPHEN C EMBRY PARTNER                    2135 WEST MAPLE RD                        5724 SUMMER TREES DR
118 POQUONOCK RD                           TROY MI 48084                             MEMPHIS TN 38134
GROTON CT 06340




ENVIRONMENTAL ATTORNEYS GROUP PC           ENVIRONMENTAL LITIGATION GROUP PC         ENVIRONMENTAL PROTECTION AGENCY
MARTIN K BERKS                             GREGORY A CADE PRINCIPAL                  OFFICE OF GENERAL COUNSEL
2232 CAHABA VLY DR                         2120 16TH AVE SOUTH                       ARIEL RIOS BLDG
BIRMINGHAM AL 35242                        BIRMINGHAM AL 35205                       1200 PENNSYLVANIA AVE NW
                                                                                     MAIL CODE 2310A
                                                                                     WASHINGTON DC 20460


ENVIRONMENTAL PROTECTION AGENCY            ENVIRONMENTAL PROTECTION AGENCY           ENVIRONMENTAL PROTECTION AGENCY
77 WEST JACKSON BLVD                       FOUNTAIN PL 12TH FL                       ATLANTA FEDERAL CTR
CHICAGO IL 60604-3507                      1445 ROSS AVE STE 1200                    61 FORSYTH ST SW
                                           DALLAS TX 75202-2733                      ATLANTA GA 30303-3104




EPIDSTAT INSTITUTE                         ESTEP AND SHAFFER LC                      ESTES, BILLY A
2100 COMMONWEALTH BLVD                     C PAUL ESTEP ESQ                          2135 WEST MAPLE RD
STE 203                                    212 WEST MAIN ST                          TROY MI 48084
ANN ARBOR MI 48105                         KINGWOOD WV 26537




ESTES, GARY L                              EUBANKS, BETTY J                          EUBANKS, DEBBIE J
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                             TROY MI 48084




EUBANKS, RANDY S                           EVANS, HOWARD R                           EVANS, JAMES M
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                             TROY MI 48084




EVANS, JEROME W                            EVANS, JOEY J                             EVANS, KENNETH W
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                             TROY MI 48084




                                                 Page: 16 of 64
                             Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 20 of 67
EVANS, WANDA D                          EVANS, WESLEY R                          EVEREST REINSURANCE CO
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       MERLO KANOFSKY BRINKMEIER & GREGG LTD
TROY MI 48084                           TROY MI 48084                            MICHAEL R. GREGG, ESQ.
                                                                                 208 SOUTH LASALLE ST
                                                                                 STE 950
                                                                                 CHICAGO IL 60604


EVEREST REINSURANCE COMPANY             EWING, JASON L                           EXPONENT INC
JAMES C WENDOVER MANAGER CLIAMS         2135 WEST MAPLE RD                       PO BOX 200283 DEPT 002
477 MARTINSVILLE RD                     TROY MI 48084                            DALLAS TX 75320-0283
PO BOX 830
LIBERTY COMER NJ 07938-0830




F GERALD MAPLES PA                      FAEGRE BAKER DANIELS LLP                 FAGG, FLOYD F
F GERALD MAPLES                         75 REMITTANCE DR                         2135 WEST MAPLE RD
902 JULIA ST                            DEPT 6952                                TROY MI 48084
NEW ORLEANS LA 70170-3204               CHICAGO IL 60675-6952




FAGG, GARLAND J                         FAGG, JOHN P                             FARACI LANGE LLP
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       ANGELO G FARACI PARTNER
TROY MI 48084                           TROY MI 48084                            400 CROSSROADS BLDG
                                                                                 ROCHESTER NY 14614




FARNER, AMANDA R                        FARNER, MARK                             FARRISE LAW FIRM
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       SIMONA FARRISE
TROY MI 48084                           TROY MI 48084                            83905 STATE ST
                                                                                 SANTA BARBARA CA 93105




FAUGHT, REX A                           FEEZELL, JAMIE L                         FEITLIN YOUNGMAN KARAS AND YOUNGMAN
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       GARY R FEITLIN PARTNER
TROY MI 48084                           TROY MI 48084                            9-10 SADDLE RIVER RD
                                                                                 FAIR LAWN NJ 07410




FERGUSON, JOHNNA CATHERINE              FERGUSON, PAULA J                        FERRARA BELEFONTE MCFADDEN CURRAN ET AL
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       ROBERT F FERRARA PARTNER
TROY MI 48084                           TROY MI 48084                            102 CHESLEY DR
                                                                                 MEDIA PA 19063




FINGER, BRENDA S                        FINGER, JACKIE M                         FINGER, JOE R
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




FINKS, H MARIE                          FINLEY-MARSHALL, DORIS A                 FINNEY, CHARLES M
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




FIREMAN'S FUND INSURANCE COMPANIES      FIRST AMERICAN TITLE INSURANCE CO        FITZGERALD AND ASSOCIATES
DIRECTOR ASBVESTOS CLAIMS               SKYLIGHT TOWER 1660 WEST 2ND ST          MICHAEL FITZGERALD PRINCIPAL
HISTORICAL CLAIMS DEPT.                 STE 700                                  1869 SEMINOLE TRL
777 SAN MARIN DR                        CLEVELAND OH 44113                       CHARLOTTESVILLE VA 22901
NOVATO CA 94998-3400




                                              Page: 17 of 64
                                 Case 19-10118-KJC      Doc 2       Filed 01/22/19   Page 21 of 67
FITZGERALD AND PORTUONDO                    FLACK LAW OFFICE PC                       FLANAGAN, DOROTHY L
MICHAEL J FITZGERALD PRINCIPAL              PAUL T FALK PARTNER                       2135 WEST MAPLE RD
110 MERRICK WAY                             229 EAST FERGUSON AVE                     TROY MI 48084
CORAL GABLES FL 33134                       WOOD RIVER IL 62095




FLANAGAN, JASON M                           FLEMING AND ASSOCIATES LLP                FLINT LAW FIRM LLC
2135 WEST MAPLE RD                          MICHAEL P FLEMING PARTNER                 ETHAN A FLINT
TROY MI 48084                               1330 POST OAK BLVD STE 3030               112 MAGNOLIA DR
                                            HOUSTON TX 77056                          GLEN CARBON IL 62034




FLINT LAW FIRM LLC                          FLOHR, IKE R                              FLORES, MARCUS A
ETHAN A FLINT                               2135 WEST MAPLE RD                        2135 WEST MAPLE RD
112 MAGNOLIA DR                             TROY MI 48084                             TROY MI 48084
GLEN CARBON IL 62304




FLOYD LAW FIRM PC                           FLYNN, WILLIAM T                          FOISTER, RONALD B
WALTER L FLOYD PARTNER                      2135 WEST MAPLE RD                        2135 WEST MAPLE RD
8151 CLAYTON RD                             TROY MI 48084                             TROY MI 48084
ST LOUIS MO 63117-1103




FOLEY AND LARDNER LLP                       FORD, ADAMM J                             FORD, JENA L
FIRSTAR CTR                                 2135 WEST MAPLE RD                        2135 WEST MAPLE RD
777 EAST WISCONSIN AVE                      TROY MI 48084                             TROY MI 48084
MILWAUKEE WI 53202-5367




FORD, RANDY E                               FOSTER AND SEAR LLP                       FOSTER, DORIS E
2135 WEST MAPLE RD                          [DEFUNCT]                                 2135 WEST MAPLE RD
TROY MI 48084                               524 E LAMAR BLVD                          TROY MI 48084
                                            ARLINGTON TX 76011




FOSTER, RANDAL C                            FOSTER, TIMOTHY W                         FOUST, LAWRENCE V
2135 WEST MAPLE RD                          2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                               TROY MI 48084                             TROY MI 48084




FRANCHISE TAX BOARD                         FRANK, BRIAN K                            FRANK, TAMMY LISA
BANKRUPTCY SECTION MSA340                   2135 WEST MAPLE RD                        2135 WEST MAPLE RD
PO BOX 2952                                 TROY MI 48084                             TROY MI 48084
SACRAMENTO CA 95812-2952




FRANKLIN, BARNEY W                          FRANKLIN, CHARLES A                       FRANKLIN, THELMA K
2135 WEST MAPLE RD                          2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                               TROY MI 48084                             TROY MI 48084




FRAZER AND DAVIDSON PA                      FREDERICK, WILLIAM D                      FREDERICKSON, WILLIAM E
500 EAST CAPITOL ST                         2135 WEST MAPLE RD                        2135 WEST MAPLE RD
JACKSON MS 39201                            TROY MI 48084                             TROY MI 48084




                                                  Page: 18 of 64
                        Case 19-10118-KJC      Doc 2     Filed 01/22/19   Page 22 of 67
FREELS, CHRISTOPHER L              FREEMAN, ANDREA S                       FREESE GOSS PLLC
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      RICHARD A FREESE
TROY MI 48084                      TROY MI 48084                           3500 MAPLE AVE STE 1100
                                                                           DALLAS TX 75219




FRITTS, ALLEN J                    FRITTS, ALLEN R                         FRITTS, JOYCE A
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




FRYE, DANA A                       FSX HOLDINGS LLC                        GABRIEL, JENNIFER E
2135 WEST MAPLE RD                 500 E JOHN CARPENTER FWY                2135 WEST MAPLE RD
TROY MI 48084                      STE 250                                 TROY MI 48084
                                   IRVING TX 75062




GADDIS, CAROL M                    GAGE, BILLY E                           GALLAHER, JASON L
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




GALLAHER, STEVE A                  GALLEGOS, NICKIE D                      GALYON, CINDY J
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




GALYON, DIANA D                    GALYON, WALTER W                        GAMSJAGER, STEVEN R
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




GARD, SCOTT R                      GARDNER, JOHN W                         GARDNER, MICHAEL
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




GARDNER, RANDY J                   GARDNER, TRAVIS L                       GARMON, JAMES K
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




GARNER, DAVID W                    GARNER, JOHNNIE E                       GARNER, WAYNE A
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




GARRETT, JOHN D                    GARRISON, CHARLES T                     GARRISON, GLENN V
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




                                         Page: 19 of 64
                           Case 19-10118-KJC      Doc 2        Filed 01/22/19   Page 23 of 67
GARRISON, JAMES E                     GARRISON, SAMUEL A                         GARRISON, SARAH N
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                              TROY MI 48084




GARTY, PAUL D'ARC                     GARY J WOJTAN                              GAYLON, APRIL WOOD
2135 WEST MAPLE RD                    GARY J WOJTAN MANAGING PARTNER             2135 WEST MAPLE RD
TROY MI 48084                         2956 UNION RD                              TROY MI 48084
                                      CHEEKTOWAGA NY 14227




GEAGLEY, MICHAEL D                    GEL ENGINEERING LLC                        GENTRY, BRUNNER L
2135 WEST MAPLE RD                    PO BOX 30712                               2135 WEST MAPLE RD
TROY MI 48084                         CHARLESTON SC 29417                        TROY MI 48084




GENTRY, JOHN M                        GEORGE AND FARINAS LLP                     GERTLER LAW FIRM LLP
2135 WEST MAPLE RD                    LINDA GEORGE                               M H GERTLER PARTNER
TROY MI 48084                         151 NORTH DELAWARE ST                      935 GRAVIER ST STE 1900
                                      INDIANAPOLIS IN 46204                      NEW ORLEANS LA 70112




GESS, SANDRA E                        GIBBS, NATHAN T                            GIBSON, JOHN K
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                              TROY MI 48084




GILES, LESTER A                       GILES, ROBERT K                            GILES, ROBIN GAIL
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                              TROY MI 48084




GILREATH, PETER P                     GIRARDI AND KEESE                          GLASS, JAMES O
2135 WEST MAPLE RD                    THOMAS V GIRARDI PARTNER                   2135 WEST MAPLE RD
TROY MI 48084                         1126 WILSHIRE BLVD                         TROY MI 48084
                                      LOS ANGELES CA 90017




GLASS, JO ANN                         GLASS, LUTHER R                            GLASSCOX J STANTON LLC
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                         STAN GLASSCOX PARTNER
TROY MI 48084                         TROY MI 48084                              TWO NORTH 20TH ST
                                                                                 BIRMINGHAM AL 35203




GLASSER AND GLASSER                   GOBLE, BILLY C                             GODSEY, JAMES D
MICHAEL A GLASSER                     2135 WEST MAPLE RD                         2135 WEST MAPLE RD
CROWN CTR BLDG - STE 600              TROY MI 48084                              TROY MI 48084
NORFOLK VA 23510




GODSEY, WILLIAM T                     GOLD LAW FIRM                              GOLDBERG KOHN LTD
2135 WEST MAPLE RD                    ROGER GOLD                                 55 E MONROE ST
TROY MI 48084                         353 SACRAMENTO ST STE 1140                 STE 3300
                                      SAN FRANCISCO CA 94111                     CHICAGO IL 60603




                                            Page: 20 of 64
                                Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 24 of 67
GOLDBERG PERSKY AND WHITE PC               GOLDBERG SEGALLA LLP                     GOLDENBERG HELLER ANTOGNOLI AND ROWLAND
BRUCE E MATTOCK                            665 MAIN ST                              PC
11 STANWIX ST                              BUFFALO NY 14203                         MARK C GOLDENBERG
PITTSBURGH PA 15222                                                                 2227 SOUTH STATE RTE 157
                                                                                    EDWARDSVILLE IL 62025




GOLDER ASSOCIATES INC                      GOLDMAN AND SKEEN PA                     GOLDSTEIN AILEEN N LAW OFFICES OF
18300 NE UNION HILL RD                     HARRY GOLDMAN PARTNER                    CHARLES H GOLDSTEIN SENIOR PARTNER
STE200                                     301 N CHARLES ST                         9454 WILSHIRE BLVD
REDMOND WA 98052                           BALTIMORE MD 21201                       BEVERLY HILLS CA 90212-2913




GOODMAN MEAGHER AND ENOCH                  GOODMAN, ALBERT S                        GOODMAN, LARRY A
WALTER F BALINT ESQ                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
111 NORTH CHARLES ST FL 7                  TROY MI 48084                            TROY MI 48084
BALTIMORE MD 21201




GOODWIN, LISA BREWSTER                     GOODWIN, RONALD G                        GORDON THOMAS HONEYWELL MALANCA
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       PETERSON AND DAHEIM
TROY MI 48084                              TROY MI 48084                            600 UNIVERSITY ST
                                                                                    STE 2100
                                                                                    SEATTLE WA 98101-4185




GORI JULIAN AND ASSOCIATES PC              GRAHAM HARRY C III PLC                   GRANT, TRAVIS D
RANDY GORI                                 HARRY C GRAHAM PRINCIPAL                 2135 WEST MAPLE RD
156 N MAIN ST                              303 NORTH COLUMBIA ST                    TROY MI 48084
EDWARDSVILLE IL 62025                      COVINGTON LA 70433




GRAVES, MATTHEW D                          GRAY, CONNIE S                           GRAY, GLEN D
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




GRAY, JOHN A                               GREAT AMERICAN INSURANCE CO              GREEN, CARL D
2135 WEST MAPLE RD                         ATTENTION: CLAIMS                        2135 WEST MAPLE RD
TROY MI 48084                              397 EAGLEVIEW BLVD                       TROY MI 48084
                                           STE 100
                                           EXTON PA 19341




GREEN, JASON D                             GREEN, JEAN                              GREEN, KAREN RENEE
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




GREEN, MARY A                              GREEN, PHYLLIS D                         GREEN, POLLY J
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




GREEN, RONALD S                            GREEN, WENDY G                           GREENE KETCHUM BAILEY AND TWEEL
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       [DEFUNCT]
TROY MI 48084                              TROY MI 48084                            419 11TH ST
                                                                                    HUNTINGTON WV 25701




                                                 Page: 21 of 64
                            Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 25 of 67
GREENE, BILLY J                        GREENSFELDER HEMKER AND GALE PC          GREENWAY, PHILLIP K
2135 WEST MAPLE RD                     10 SOUTH BROADWAY                        2135 WEST MAPLE RD
TROY MI 48084                          STE 2000                                 TROY MI 48084
                                       ST. LOUIS MO 63102




GRIFFIN, BENNY L                       GRIFFIN, MICHAEL E                       GRIFFIS, KEITH A
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




GRIGSBY, OSCAR E                       GROSS, MICHAEL A                         GUERRIERO AND GUERRIERO
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       JOSEPH D GUERRIERO PARTNER
TROY MI 48084                          TROY MI 48084                            2200 FORSYTHE AVE
                                                                                MONROE LA 71201




GUIDER, KENNETH P                      HACKARD AND HOLT                         HAGERDORN, EDWARD ALAN
2135 WEST MAPLE RD                     MIKE HACKARD PRESIDENT                   2135 WEST MAPLE RD
TROY MI 48084                          113354 GOLD EXPRESS DR STE 155           TROY MI 48084
                                       GOLD RIVER CA 95670




HALL, FREDERICK L                      HALL, GARY H                             HAMBURG RUBIN MULLIN MAXWELL AND LUPIN
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       STEVEN B BARRETT PARTNER
TROY MI 48084                          TROY MI 48084                            ACTS CENTER-BLUE BELL
                                                                                LANSDALE PA 19446-0773




HAMILTON, LISA D                       HAMILTON, TED D                          HAMILTON, WHITNEY J
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




HAMMACK, LINDA G                       HANEY, BRADLEY C                         HANKINS, RICHARD W
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




HANNEKEN, KEVIN M                      HANOSH, PAMELA A                         HARDAGE SITE REMEDY CORP TRUST
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       SPENCER FANE LLP
TROY MI 48084                          TROY MI 48084                            PETE MIRAKIAN III, ATTORNEY AT LAW
                                                                                1000 WALNUT ST
                                                                                STE 1400
                                                                                KANSAS CITY MO 64106


HARDAGE SITE REMEDY CORP TRUST         HARDY, BRENDA G                          HARGETT, RONALD D
MARK KAMILOW PRESIDENT & CHAIRPERSON   2135 WEST MAPLE RD                       2135 WEST MAPLE RD
15213 180TH ST                         TROY MI 48084                            TROY MI 48084
LINDSAY OK 73052




HAROLD, KELLY S                        HAROLD, STEVEN C                         HAROWITZ AND TIGERMAN LLP
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       STEVEN HAROWITZ
TROY MI 48084                          TROY MI 48084                            101 CALIFORNIA ST
                                                                                SAN FRANCISCO CA 94111-5802




                                             Page: 22 of 64
                            Case 19-10118-KJC          Doc 2       Filed 01/22/19   Page 26 of 67
HARRILL, GEORGE O                         HARRILL, PATRICIA LYNN                     HARRIS PENN AND LOWRY LLP
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                         JEFFREY R HARRIS PARTNER
TROY MI 48084                             TROY MI 48084                              410 E BROUGHTON ST
                                                                                     SAVANNAH GA 31401




HARRIS, BRENDA D                          HARRIS, JERRY W                            HARRISON KEMP JONES AND COULTHARD LLP
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                         WILL KEMP PARTNER
TROY MI 48084                             TROY MI 48084                              WELLS FARGO TOWER
                                                                                     LAS VEGAS NV 89169




HARRISON, MACK JESSE                      HART, DAVID R                              HART, JIMMY R
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                              TROY MI 48084




HART, MICHAEL J                           HARTLEY LAW GROUP PLLC                     HARVEY KRUSE PC
2135 WEST MAPLE RD                        DEAN HARTLEY                               1050 WILSHIRE DR
TROY MI 48084                             2001 MAIN ST                               STE 320
                                          WHEELING WV 26003                          TROY MI 48084-1526




HARVEY, CAROLYN                           HARVEY, JAMES A                            HARVIT AND SCHWARTZ LC
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                         WILLIAM SCHWARTZ
TROY MI 48084                             TROY MI 48084                              2018 KANAWHA BLVD EAST
                                                                                     CHARLESTON WV 25311




HATCH JAMES AND DODGE PC                  HATCHER, FREDDIE A                         HAUN, MIKE L
BRENT O HATCH FOUNDING MEMBER             2135 WEST MAPLE RD                         2135 WEST MAPLE RD
10 WEST BROADWAY                          TROY MI 48084                              TROY MI 48084
SALT LAKE CITY UT 84101




HAWKINS PARNELL THACKSTON AND YOUNG LLP   HAWKINS, BRANDY A                          HAWKINS, DINESHA M
303 PEACHTREE ST NE                       2135 WEST MAPLE RD                         2135 WEST MAPLE RD
STE 4000                                  TROY MI 48084                              TROY MI 48084
ATLANTA GA 30308-3243




HAWKINS, DONNA J                          HAWKINS, JAMES R                           HAWKINS, JERRY L
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                              TROY MI 48084




HAYES, JASON P                            HAYES, SEAN C                              HEADLEY LAW LLC
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                         BRIAN J HEADLY PRINCIPAL
TROY MI 48084                             TROY MI 48084                              1156 BOWMAN RD STE 200
                                                                                     MOUNT PLEASANT SC 29464




HEARN AND THOMAS PA                       HEDGEPETH, C GRANT                         HELENE, BERGMAN
PHILIP CHEARN PARTNER                     C GRANT HEDGEPETH                          HELENE BERGMAN
735 NORTH CONGRESS ST                     306 HILL ST                                THE LYRIC CENTRE
JACKSON MS 39202                          ELLISVILLE MS 39437                        HOUSTON TX 77002




                                                Page: 23 of 64
                           Case 19-10118-KJC      Doc 2         Filed 01/22/19   Page 27 of 67
HELM, BRIAN D                         HELMS, ELIZABETH H                          HENDERSON, RONALD E
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                               TROY MI 48084




HENDLER LYONS FLORES PLLC             HENDRIX, DANNY G                            HENDRIX, KATHERINE A
SCOTT HENDLER FOUNDING PARTNER        2135 WEST MAPLE RD                          2135 WEST MAPLE RD
1301 W 25TH ST STE 400                TROY MI 48084                               TROY MI 48084
AUSTIN TX 78705




HENRY, BRENDA SUE                     HENRY, BURL                                 HENRY, MICHAEL B
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                               TROY MI 48084




HENSON, CAROLYN C                     HENSON, DOUGLAS W                           HENSON, JAMES F
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                               TROY MI 48084




HENSON, JODY L                        HERMES NETBURN OCONNOR AND SPEARING PC      HERNEY, RICKY N
2135 WEST MAPLE RD                    265 FRANKLIN ST                             2135 WEST MAPLE RD
TROY MI 48084                         7TH FL                                      TROY MI 48084
                                      BOSTON MA 02110-3113




HERRIN, SUSAN B                       HESSION LAW OFFICE PLLC                     HESTER, DOUGLAS W
2135 WEST MAPLE RD                    JAMES HESSION OWNER                         2135 WEST MAPLE RD
TROY MI 48084                         202 NORTH SAGINAW ST                        TROY MI 48084
                                      ST CHARLES MI 48655




HESTER, PEGGY L                       HI CAPM ADVISORS LTD                        HICKMAN, MICHAEL C
2135 WEST MAPLE RD                    477 MADISON AVE                             2135 WEST MAPLE RD
TROY MI 48084                         3RD FL                                      TROY MI 48084
                                      NEW YORK NY 10022




HICKS, CYNTHIA A                      HICKS, LOWELL B                             HICKS, MATTHEW J
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                               TROY MI 48084




HIEFNER, GREGORY L                    HILL, BETTY L                               HILL, BILLY JOE
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                               TROY MI 48084




HILL, MARGARET L                      HILL, MARTY R                               HILL, PAMELA J
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                               TROY MI 48084




                                            Page: 24 of 64
                             Case 19-10118-KJC      Doc 2        Filed 01/22/19   Page 28 of 67
HINDS, BRANDON W                        HINSON, DONNA M                            HINTON, MARY E
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                              TROY MI 48084




HISSEY KIENTZ AND HERRON PLLC           HOBSON AND BRADLEY                         HODGE, JOSPEH D
HISSEY MICHAEL E                        HERSCHEL HOBSON                            2135 WEST MAPLE RD
9442 CAPITAL OF TEXAS HIGHWAY NORTH     5050 QUORUM DR                             TROY MI 48084
AUSTIN TX 78759                         DALLAS TX 75254




HODGE, KIMBERLY J                       HOGAN, TERRELL                             HOGAN, TERRELL
2135 WEST MAPLE RD                      WAYNE HOGAN                                WAYNE HOGAN
TROY MI 48084                           8TH FL - BLACKSTONE BLDG                   233 EAST BAY ST 804
                                        JACKSONVILLE FL 32202                      JACKSONVILLE FL 32202




HOLCOMB, SARA J                         HOLDER, AMY N                              HOLDER, MICHAEL J
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                              TROY MI 48084




HOLLORAN AND STEWART                    HOLT, STACY L                              HOOPER, THOMAS P
JAMES P HOLLORAN                        2135 WEST MAPLE RD                         2135 WEST MAPLE RD
1010 MARKET ST                          TROY MI 48084                              TROY MI 48084
ST LOUIS MO 63101




HOPE, GREGORY L                         HOPE, MICHAEL R                            HOPPING, JASON R
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                              TROY MI 48084




HORNICK, MICHAEL A                      HORTON LAW FIRM                            HOSTETTER, JERE L
2135 WEST MAPLE RD                      CHARLES P HORTON                           2135 WEST MAPLE RD
TROY MI 48084                           114 NW 6TH ST                              TROY MI 48084
                                        OKLAHOMA CITY OK 73102




HOUK, RAY E                             HOUSE, WILLIAM G                           HOUSER, BENNIE D
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                              TROY MI 48084




HOUSER, BOBBIE L                        HOUSER, ERNEST C                           HOUSTON, ALLEN T
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                              TROY MI 48084




HOWELL, QUINTON R                       HSC REMEDY TRUST DEPOSITORY AC             HUBBARD MITCHELL WILLIAMS AND STRAIN PLLC
2135 WEST MAPLE RD                      515 CONGRESS AVE                           PO BOX 13309
TROY MI 48084                           STE 1900                                   JACKSON MS 39236
                                        AUSTIN TX 78701




                                              Page: 25 of 64
                             Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 29 of 67
HUBBARD, JEANNE R                       HUBBS, EDDIE L                           HUDIK, RODNEY M
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




HUFFMAN, ANGELA A                       HUFFSTETLER, LLOYD M                     HUGHES, ANTHONY J
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




HUGHES, BILLY W                         HUGHES, KENNETH E                        HUGHES, TODD A
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




HUMBERT, TRAVIS E                       HUMMINGBIRD, WANDA S                     HUMPHREYS, FRANCES
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




HUMPHREYS, MATTHEW A                    HUMPHREYS, THOMAS L                      HUNEGS LENEAVE KVAS PA
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       RICHARD G HUNEGS
TROY MI 48084                           TROY MI 48084                            1000 TWELVE OAKS CTR DR #101
                                                                                 WAYZATA MN 55391




HUNEGS LENEAVE AND KVAS PA              HUNT, BONNIE J                           HUNT, RONALD D
RICHARD G HUNEGS                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
900 SECOND AVE SOUTH                    TROY MI 48084                            TROY MI 48084
MINNEAPOLIS MN 55402




HUNTER, ANDREA N                        HURST, KEITH L                           HUSKIN, HERBERT R
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




HUSKIN, WILLIAM R                       INFINITY REPORTING GROUP LLC             INGLE, CYNTHIA M
2135 WEST MAPLE RD                      11231 RICHMOND AVE                       2135 WEST MAPLE RD
TROY MI 48084                           STE D110                                 TROY MI 48084
                                        HOUSTON TX 77082




INGRAM AND ASSOCIATES PLLC              INGRAM AND ASSOCIATES PLLC               INGRAM, JOSEPH M
CARROLL INGRAM                          CARROLL INGRAM                           2135 WEST MAPLE RD
211 SOUTH 29TH AVE                      2909 ARLINGTON LOOP                      TROY MI 48084
HATTIESBURG MS 39041                    HATTIESBURG MS 39401




INMAN, STEPHEN J                        INTERNAL REVENUE SVC                     INTERNAL REVENUE SVC
2135 WEST MAPLE RD                      CENTRALIZED INSOLVENCY OPERATION         CENTRALIZED INSOLVENCY OPERATION
TROY MI 48084                           PO BOX 7346                              2970 MARKET ST
                                        PHILADELPHIA PA 19101-7346               MAIL STOP 5 Q30 133
                                                                                 PHILADELPHIA PA 19104-5016




                                              Page: 26 of 64
                            Case 19-10118-KJC      Doc 2       Filed 01/22/19   Page 30 of 67
IRWIN, MICHAEL P                       ISBILL, BRIAN L                           ISBILL, SUNSHINE R
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                             TROY MI 48084




IVENS, MARGARET S                      IVEY, CARLA L                             IVEY, MICKEY L
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                             TROY MI 48084




IVEY, PARIS D                          IVEY, RANDALL L                           JABLINSKI FOLINO ROBERTS SCHULTZ
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                        DAVID S JABLINSKI
TROY MI 48084                          TROY MI 48084                             214 WEST MONUMENT AVE
                                                                                 DAYTON OH 45402-3028




JACOBS CRUMPLAR PA                     JACOBS AND CRUMPLAR PA                    JACOBS, PEGGY A
ROBERT JACOBS                          ROBERT JACOBS                             2135 WEST MAPLE RD
750 SHIPYARD DR STE 200                2 EAST 7TH ST                             TROY MI 48084
WILMINGTON DE 19801                    WILMINGTON DE 19801




JACOBS, SANDRA R                       JAEKEL, CHRISTOPHER L                     JAEKEL, TINA M
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                             TROY MI 48084




JAMERSON, TIMOTHY B                    JAMES F HUMPHREYS AND ASSOCIATES LC       JAMES, BEVERLY I
2135 WEST MAPLE RD                     JAMES F HUMPHREYS                         2135 WEST MAPLE RD
TROY MI 48084                          UNITED CTR STE 800                        TROY MI 48084
                                       CHARLESTON WV 25301




JARKA, ALLEN R                         JARRARD, CLAYTON G                        JAYNES, M PEGGY
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                             TROY MI 48084




JENKINS AND PARRON                     JENKINS AND PARRON                        JENKINS, ALICE J
BARRY D JENKINS                        BARRY D JENKINS                           2135 WEST MAPLE RD
3611 W PIONEER PKWY STE F              404 EAST 1ST ST                           TROY MI 48084
ARLINGTON TX 76103                     ARLINGTON TX 76010




JENKINS, CLIFFORD M                    JENKINS, JAMES D                          JENKINS, JEFFREY P
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                             TROY MI 48084




JENKINS, JODEE W                       JENKINS, JUDY I                           JENKINS, RICHARD E
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                             TROY MI 48084




                                             Page: 27 of 64
                               Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 31 of 67
JENKINS, RONNIE E                         JENKINS, SONYA KAY                       JENKINS, WILLARD J
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




JENNINGS, THOMAS M                        JOHN ARTHUR EAVES LAW OFFICES            JOHN J DUFFY AND ASSOCIATES
2135 WEST MAPLE RD                        JOHN ARTHUR EAVES                        JOHN J DUFFY
TROY MI 48084                             101 NORTH STATE ST                       BRENDAN PL
                                          JACKSON MS 39201                         NORTH OLMSTED OH 44070




JOHN J DUFFY AND ASSOCIATES               JOHNSON, CHRIS S                         JOHNSON, ELIZABETH A
JOHN J DUFFY                              2135 WEST MAPLE RD                       2135 WEST MAPLE RD
23823 LORAIN RD STE 279                   TROY MI 48084                            TROY MI 48084
NORTH OLMSTED OH 44070




JOHNSON, GLENN                            JOHNSON, HAZEL M                         JOHNSON, HEATHER LEANN
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




JOHNSON, JAMES L                          JOHNSON, JAMES P                         JOHNSON, JOEL SCOTT
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




JOHNSON, JOHN M                           JOHNSON, KRISTIANA COLLETTE              JOHNSON, LOWELL E
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




JOHNSON, MICHAEL D                        JOHNSON, MILDRED S                       JOHNSON, RANDY M
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




JOHNSON, ROBERT H                         JOHNSON, SUNSHINE L                      JOHNSON, WILLIAM B
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                            TROY MI 48084




JOHNSON, WILMA J                          JOHNSTON, GARY D                         JON A, SWARTZFAGER
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                       JON SWARTZFAGER
TROY MI 48084                             TROY MI 48084                            PO BOX 131
                                                                                   LAUREL MS 39441




JON L GELMAN ATTORNEY AT LAW              JONES, BARRY R                           JONES, CRISTY L
JOHN L GELMAN                             2135 WEST MAPLE RD                       2135 WEST MAPLE RD
1450 VLY RD                               TROY MI 48084                            TROY MI 48084
WAYNE NJ 07474-0934




                                                Page: 28 of 64
                             Case 19-10118-KJC      Doc 2        Filed 01/22/19     Page 32 of 67
JONES, DANIEL L                         JONES, JOSEPH M                              JONES, LINDA
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                           2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                                TROY MI 48084




JONES, MICHAEL W                        JONES, ROBERT L                              JONES, VICTOR P
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                           2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                                TROY MI 48084




JORDAN, FARRAH C                        JOSEPH C BLANKS PC                           JPMORGAN CHASE BANK NA
2135 WEST MAPLE RD                      JOSEPH C BLANKS                              JAMES TJIACHRIS
TROY MI 48084                           PO BOX 999                                   611 WOODWARD AVE
                                        DOUCETTE TX 75942-0999                       DETROIT MI 48226




JUSTICE, MARTHA J                       JUSTICE, MELVIN                              KAESKE LAW FIRM
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                           MICHAEL KAESKE
TROY MI 48084                           TROY MI 48084                                6301 GASTON AVE
                                                                                     DALLAS TX 75214




KAGLEY, WILLIAM E                       KAISER GORNICK LLP                           KARST AND VON OISTE LLP
2135 WEST MAPLE RD                      ERIK P KARST                                 DOUGLAS D VON OISTE
TROY MI 48084                           100 FIRST ST 25TH FL                         19500 STATE HIGHWAY 249 STE 420
                                        SAN FRANCISCO CA 94105                       HOUSTON TX 77070




KASSEL MCVEY ATTORNEYS AT LAW           KAZAN MCCLAIN SATTERLEY AND GREENWOOD PLC    KEAHEY LAW OFFICE
THEILE MCVEY                            STEVEN KAZAN                                 PATRICK KEAHEY
1330 LAUREL ST                          55 HARRISON ST STE 400                       ONE INDEPENDENCE PLZ
COLUMBIA SC 29202                       OAKLAND CA 94607                             BIRMINGHAM AL 35209




KEEBLE, SHEILA G                        KEEFE LAW FIRM                               KEEFE LAW FIRM
2135 WEST MAPLE RD                      JOHN E KEEFE JR                              JOHN E KEEFE JR
TROY MI 48084                           56 FERRY ST                                  76 FERRY ST
                                        NEWARK NJ 07105                              NEWARK NJ 07105




KEENER, KATHLEEN H                      KEETON, JASON D                              KEISER, PAMELA J
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                           2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                                TROY MI 48084




KELLER FISHBACK AND JACKSON LLP         KELLER, BEATRICE A                           KELLER, BILLY R
STEPHEN M FISHBACK                      2135 WEST MAPLE RD                           2135 WEST MAPLE RD
18425 BURBANK BLVD                      TROY MI 48084                                TROY MI 48084
TARZANA CA 91356




KELLER, CHARLES E                       KELLER, KENNETH E                            KELLER, RODNEY P
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                           2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                                TROY MI 48084




                                              Page: 29 of 64
                            Case 19-10118-KJC       Doc 2       Filed 01/22/19   Page 33 of 67
KELLEY AND FERRARO LLP                 KELLEY, JOSEPH M                           KELLEY, WANDA H
JAMES L FERRARO                        2135 WEST MAPLE RD                         2135 WEST MAPLE RD
ERNST & YOUNG TOWER                    TROY MI 48084                              TROY MI 48084
CLEVELAND OH 44113




KELSO, SHARON D                        KELSO, THERESA JOHNSON                     KEMLING, LARRY C
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                              TROY MI 48084




KERNICA, JOHN L                        KEVIN W MCCLAIN INVESTIGATIONS LTD         KEYS, BOBBY S
2135 WEST MAPLE RD                     PO BOX 1434                                2135 WEST MAPLE RD
TROY MI 48084                          CENTRALIA IL 62801                         TROY MI 48084




KIDD, CRAIG M                          KIESEL BOUCHER AND LARSON LLP              KILBY, ELMER E
2135 WEST MAPLE RD                     PAUL R KIESEL                              2135 WEST MAPLE RD
TROY MI 48084                          8648 WILSHIRE BLVD                         TROY MI 48084
                                       BEVERLY HILLS CA 90211-2910




KINCAID, JUDITH A                      KINERK SCHMIDT AND SETHI PLLC              KING, AQUILA G
2135 WEST MAPLE RD                     TED SCHMIDT                                2135 WEST MAPLE RD
TROY MI 48084                          1790 E RIVER RD #300                       TROY MI 48084
                                       TUCSON AZ 85718




KIRKLAND, CHERYL K                     KIRKLAND, CHRISTOPHER C                    KIRKLAND, GARY J
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                              TROY MI 48084




KIRKLAND, NAVADA K                     KIRKLAND, RANDY L                          KISER, STEVE A
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                              TROY MI 48084




KITCH DRUTCHAS WAGNER VALITUTTI AND    KLINE AND SPECTER PC                       KNOWLES, JUDY J
SHERBROOK                              TOM KLINE                                  2135 WEST MAPLE RD
ONE WOODWARD AVE                       1525 LOCUST ST 19TH FL                     TROY MI 48084
STE 2400                               PHILADELPHIA PA 19102
DETROIT MI 48226




KNOX, GLORIA A                         KNOX, TONY Z                               KP LAW LLC
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                         EDELMAN ANDREW J KANURU RAJESH
TROY MI 48084                          TROY MI 48084                              PONNE THOMAS
                                                                                  105 W ADAMS ST STE 2325
                                                                                  CHICAGO IL 60603




KUNKLE, ROBERT P                       KURGAN, ROBERT W                           KUROWSKI SHULTZ LLC
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                         1405 GREEN MOUNT RD
TROY MI 48084                          TROY MI 48084                              STE 400
                                                                                  O' FALLON IL 62269




                                             Page: 30 of 64
                                Case 19-10118-KJC          Doc 2      Filed 01/22/19   Page 34 of 67
LACKEY NUSBAUM HARRIS RENY AND TORZEWSKI      LAMBERT, LARRY R                          LAMBERT, TIMOTHY B
HARRIS JAY LACKEY GERALD B NUSBAUM MELVIN G   2135 WEST MAPLE RD                        2135 WEST MAPLE RD
RENY D MICHAEL TORZEWSKI JOAN                 TROY MI 48084                             TROY MI 48084
TWO MARITIME PLZ
TOLEDO OH 43604




LANCASTER, PAUL B                             LANDRY AND SWARR                          LANDYE BENNETT AND BLUMSTEIN LLP
2135 WEST MAPLE RD                            MICKEY LANDRY                             J DAVID BENNETT
TROY MI 48084                                 1010 COMMON ST                            3500 WELLS FARGO CTR
                                              NEW ORLEANS LA 70112                      PORTLAND OR 97201




LANE, CHRISTOPHER M                           LANE, FRED W                              LANE, LARRY C
2135 WEST MAPLE RD                            2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                                 TROY MI 48084                             TROY MI 48084




LANE, MELANIE D                               LANE, RAYMOND R                           LANGEFELD, MICHAEL D
2135 WEST MAPLE RD                            2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                                 TROY MI 48084                             TROY MI 48084




LANGLEY, CECILIA A                            LANIER LAW FIRM PLLC                      LANIER LAW FIRM PLLC
2135 WEST MAPLE RD                            ALEX BROWN                                ALEX BROWN
TROY MI 48084                                 280 NORTH OLD WOODWARD AVE                6810 FM 1960 WEST
                                              BIRMINGHAM MI 48009                       HOUSTON TX 77069




LANKFORD, WILLIAM J                           LARGEN, LAURA J                           LATHAM, TOMMY L
2135 WEST MAPLE RD                            2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                                 TROY MI 48084                             TROY MI 48084




LAW OFFICE OF A DALE BOWERS PA                LAW OFFICE OF A DALE BOWERS PA            LAW OFFICE OF BRUCE L AHNFELDT
A DALE BOWERS                                 A DALE BOWERS                             BRUCEL AHNFELDT
1225 N KING ST # 1200                         203 N MARYLAND AVE                        1005 JEFFERSON ST
WILMINGTON DE 19801                           WILMINGTON DE 19804                       NAPA CA 94559




LAW OFFICE OF BRUCE L AHNFELDT                LAW OFFICE OF HW TREY JONES               LAW OFFICE OF JAMES M BARBER
BRUCEL AHNFELDT                               H W TREY JONES                            JAMES M BARBER
1475 4TH                                      1010 WILSHIRE BLVD # 302                  604 VIRGINIA ST E
NAPA CA 94559                                 LOS ANGELES CA 90017                      CHARLESTON WV 25301




LAW OFFICE OF JEFFREY A VARAS                 LAW OFFICE OF JEFFREY A VARAS             LAW OFFICE OF JERRY COVERT
JEFFREY A VARAS                               JEFFREY A VARAS                           STEVE COVERT
POST OFFICE BOX 886                           PO BOX 886                                9035 BLUEBONNET BLVD 2
HAZLEHURST MS 39083                           HAZLEHURST MS 39083                       BATON ROUGE LA 70810




LAW OFFICE OF JERRY COVERT                    LAW OFFICE OF JULIE KAREE' CAIN           LAW OFFICE OF JULIE KAREE' CAIN
STEVE COVERT                                  JULIE KAREE CAIN                          JULIE KAREE CAIN
341 SAINT CHARLES ST                          1505 BOWIE                                425 FANNIN
BATON ROUGE LA 70802                          LIBERTY TX 77575                          LIBERTY TX 77575-4911




                                                    Page: 31 of 64
                              Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 35 of 67
LAW OFFICE OF STEPHEN HEALY              LAW OFFICE OF W HARVEY BARTON            LAW OFFICE OF WORTHINGTON AND CARON PC
STEPHEN G HEALY                          W HARVEY BARTON                          ROGER WORTHINGTON
1390 N MCDOWELL BLVD STE G               3007 MAGNOLIA ST                         273 WEST 7TH ST
PETALUMA CA 94954                        PASCAGOULA MS 39567                      SAN PEDRO CA 90731-3321




LAW OFFICES OF CARRIE L NEWTON           LAW OFFICES OF CHRISTOPHER E GRELL       LAW OFFICES OF CHRISTOPHER E GRELL
CARRIE L NEWTON                          CHRISTOPHER E GRELL                      CHRISTOPHER E GRELL
PO BOX 506                               THE LEAMINGTON                           THE BROADLAKE PLZ 360 22ND ST STE 320
RIPLEY WV 25271                          OAKLAND CA 94612                         OAKLAND CA 94612




LAW OFFICES OF DEVIN ROBINSON PC         LAW OFFICES OF GEORGE H KIM              LAW OFFICES OF JAMES D BURNS PS
DEVIN N ROBINSON                         GEORGE KIM                               JAMES D BURNS
1400 NW IRVING ST                        9766 WILSHIRE BLVD STE 200               2200 4TH AVE
PORTLAND OR 97209                        BEVERLY HILLS CA 90212                   SEATTLE WA 98121




LAW OFFICES OF JOSEPH J RHOADES          LAW OFFICES OF JOSEPH J RHOADES          LAW OFFICES OF LEE W DAVIS ESQUIRE LLC
JOSEPH J RHOADES                         JOSEPH J RHOADES                         LEE W DAVIS
1225 KING ST                             1225 KING ST STE 1200                    5239 BUTLER ST STE 201
WILMINGTON DE 19801                      WILMINGTON DE 19801                      PITTSBURGH PA 15201




LAW OFFICES OF MICHAEL P JOYCE           LAW OFFICES OF MICHAEL R BILBREY PC      LAW OFFICES OF PETER G ANGELOS PC
MICHAEL P JOYCE                          MICHAEL R BILBREY                        PETER G ANGELOS
50 CONGRESS ST STE 840                   8724 PIN OAK RD                          100 N CHARLES ST
BOSTON MA 02109                          EDWARDSVILLE IL 62025                    BALTIMORE MD 21201




LAW OFFICES OF RICHARD M FOUNTAIN PA     LAW OFFICES OF RICHARD M FOUNTAIN PA     LAW OFFICES OF SHEPARD A HOFFMAN
RICHARD FOUNTAIN                         RICHARD FOUNTAIN                         SHEPARD A HOFFMAN
660 LAKELAND EAST                        P O BOX 14047                            36 S CHARLES ST
JACKSON MS 39208                         JACKSON MS 39216                         BALTIMORE MD 21201




LAWHON, BESS L                           LAWHON, ROBERT P                         LAWSON, ALLEN R
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                            TROY MI 48084




LAWSON, BILLY                            LAWSON, JIMMY L                          LAWSON, PHYLLIS A
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                            TROY MI 48084




LAWSON, REBECCA M                        LAY, JIM H                               LEBLANC AND WADDELL LLP
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       JENA LEBLANC DUNCAN
TROY MI 48084                            TROY MI 48084                            6955 PERKINS RD
                                                                                  BATON ROUGE LA 70808




LEDBETTER, DEWEY W                       LEDFORD, DEBORAH N                       LEE FUTRELL AND PERLES LLP
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       RICHARD M PERLES
TROY MI 48084                            TROY MI 48084                            201 ST CHARLES AVE STE 2409
                                                                                  NEW ORLEANS LA 70170




                                               Page: 32 of 64
                              Case 19-10118-KJC      Doc 2       Filed 01/22/19   Page 36 of 67
LEE, DANG                                LEE, DONNA K                              LEE, JAMES E
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




LEE, KIMBERLY A                          LEE, MALDON E                             LEE, ROGER A
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




LEE, TAMMIE G                            LEE, VIRGINIA R                           LEI, MIKE
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        MAREMONT CORPORATION ET AL
TROY MI 48084                            TROY MI 48084                             2135 WEST MAPLE RD
                                                                                   TROY MI 48084




LEIBOWITZ, DAVID MCQUADE                 LETTIERI, NORMAN E                        LEVIN PAPANTONIO THOMAS MITCHELL ECHSNER
DAVID LEIBOWITZ                          2135 WEST MAPLE RD                        AND PA
6243 IH 10 WEST STE 1000                 TROY MI 48084                             FREDRIC G LEVIN
SAN ANTONIO TX 78201-2091                                                          316 SOUTH BAYLEN ST STE 600
                                                                                   PENSACOLA FL 32591




LEVIN SIMES LLP                          LEVY KONIGSBERG LLP                       LEVY KONIGSBERG LLP
WILLIAM A LEVIN                          STANLEY J LEVY                            STANLEY J LEVY
44 MONTGOMERY ST FL 32                   800 3RD AVE                               800 THIRD AVE
SAN FRANCISCO CA 94104                   NEW YORK NY 10022                         NEW YORK NY 10022




LEWIS HANSEN PLESHE FLANDERS LLC         LEWIS, KENNETH C                          LIFORD, EARL
8 EAST BROADWAY #410                     2135 WEST MAPLE RD                        2135 WEST MAPLE RD
SALT LAKE CITY UT 84111                  TROY MI 48084                             TROY MI 48084




LIFORD, JACKIE G                         LIFORD, JERRY L                           LIFORD, PAUL E
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




LINDSEY, ARTHUR L                        LINDSEY, BRENDA R                         LIPSITZ AND PONTERIO LLC
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        JOHN P COMERFORD
TROY MI 48084                            TROY MI 48084                             424 MAIN ST STE 1500
                                                                                   STE 1500
                                                                                   BUFFALO NY 14202




LIPSITZ GREEN SCIME CAMBRIA LLP          LISTON/LANCASTER PLLC                     LISTON/LANCASTER PLLC
JAMES T SCIME                            WILLIAM LISTON III                        WILLIAM LISTON III
42 DELAWARE AVE                          304 NCONGRESS ST                          2648 RIDGEWOOD RD STE B
BUFFALO NY 14202-3924                    JACKSON MS 39225                          JACKSON MS 39216




LITTLETON, BOBBIE B                      LITTLETON, WESLEY W                       LITWIN, EMILY H
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




                                               Page: 33 of 64
                             Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 37 of 67
LITWIN, JUSTIN H                        LIVELY, JAMES D                          LOCKS LAW FIRM LLC
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       GENE LOCKS
TROY MI 48084                           TROY MI 48084                            457 HADDONFIELD RD
                                                                                 CHERRY HILL NJ 08002




LOCKTON COMPANIES LLC                   LOMAX LAW FIRM PA                        LONG, CLAUDE N
444 W 47TH ST                           LOWRY M LOMAX                            2135 WEST MAPLE RD
STE 900                                 2502 MARKET ST                           TROY MI 48084
KANSAS CITY MO 64112                    PASCAGOULA MS 39568




LONG, JACKSON R                         LONGWORTH, WALTER M                      LORENZ, ANNA B
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




LORENZ, JAMES G                         LOUIS H WATSON JR PA                     LOVIN, DONALD R
2135 WEST MAPLE RD                      LOUIS H WATSON JR                        2135 WEST MAPLE RD
TROY MI 48084                           520 E CAPITOL STEET                      TROY MI 48084
                                        JACKSON MS 39201




LOWE, JAMES L                           LOWE, RUBY N                             LOWE, V DAVID
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




LUCKEY AND MULLINS LAW FIRM PLLC        LUCKEY AND MULLINS LAW FIRM PLLC         LUNDY AND DAVIS LLP
ALWYN LUCKEY                            ALWYN LUCKEY                             MATTHEW E LUNDY
2016 BIENVILLE BLVD                     1629 GOVERNMENT ST                       501 BROAD ST
OCEAN SPRINGS MS 39564                  OCEAN SPRINGS MS 39564                   LAKE CHARLES LA 70602




LUSK, JASON L                           LUTTRELL, JOSEPH                         LYNCH, JEFFERY N
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




LYNN, CAROLYN P                         LYNN, GREGORY A                          LYNN, JAMES E
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




LYNN, JAMES R                           LYNN, JEWEL D                            LYNN, RANDAL W
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




LYNN, RUTH M                            LYON, RONALD J                           MADDOX, ROBERT D
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                            TROY MI 48084




                                              Page: 34 of 64
                             Case 19-10118-KJC          Doc 2     Filed 01/22/19        Page 38 of 67
MAINOR, LEONARD L                           MALLOY, MICHAEL J                            MANLEY BURKE LIPTON AND COOK
2135 WEST MAPLE RD                          2135 WEST MAPLE RD                           ROBERT E MANLEY
TROY MI 48084                               TROY MI 48084                                225 WEST CT ST
                                                                                         CINCINNATI OH 45202




MANN, THOMAS W                              MANTOOTH, JEFF N                             MAPLES, WILLIAM E
2135 WEST MAPLE RD                          2135 WEST MAPLE RD                           2135 WEST MAPLE RD
TROY MI 48084                               TROY MI 48084                                TROY MI 48084




MARCH RISK CONSULTING                       MARK, SHARON R                               MARKOWICZ, JEREMY R
PO BOX 846015                               2135 WEST MAPLE RD                           2135 WEST MAPLE RD
DALLAS TX 75284-6015                        TROY MI 48084                                TROY MI 48084




MARONEY WILLIAMS WEAVER AND PANCAKE PLLC    MARSHALL, BOBBY L                            MARTIN AND JONES PLLC
[DEFUNCT]                                   2135 WEST MAPLE RD                           JOHN ALAN JONES
608 VIRGINIA ST EAST                        TROY MI 48084                                410 GLENWOOD AVE
CHARLESTON WV 25301                                                                      RALEIGH NC 27603




MARTIN K, BERKS                             MARTIN SHOWERS SMITH AND MCDONALD LLP        MARTIN, CHARLES A
MARTIN K BERKS                              JAMES A SHOWERS                              2135 WEST MAPLE RD
1124 14TH AVE SOUTH                         PO BOX 257                                   TROY MI 48084
BIRMINGHAM GA 35209                         HILLSBORO TX 76645




MARTIN, GRADY S                             MARTINECK, GARY L                            MARTINEZ, ORTENCIA
2135 WEST MAPLE RD                          2135 WEST MAPLE RD                           2135 WEST MAPLE RD
TROY MI 48084                               TROY MI 48084                                TROY MI 48084




MASHBURN, BARBARA T                         MASSEY, SHELIA A                             MAT HOLDINGS INC
2135 WEST MAPLE RD                          2135 WEST MAPLE RD                           BOB PATTON VP & GEN COUNSEL
TROY MI 48084                               TROY MI 48084                                6700 WILDLIFE WAY
                                                                                         LONG GROVE IL 60047




MATHEWS, TERRY K                            MATHIS LAW FIRM                              MATTHEW E KIELY LLC
2135 WEST MAPLE RD                          311 W BROUGHTON ST                           MATTHEW E KIELY
TROY MI 48084                               SAVANNAH GA 31401                            201 NORTH CHARLES ST
                                                                                         BALTIMORE MD 21201




MAUNE RAICHLE HARTLEY FRENCH AND MUDD LLC   MAUNE RAICHLE HARTLEY FRENCH AND MUDD LLC    MAYOTT, ROBERT G
T BARTON FRENCH                             T BARTON FRENCH                              2135 WEST MAPLE RD
70 WASHINGTON ST STE 200                    1015 LOCUS ST                                TROY MI 48084
OAKLAND CA 94607                            STE 1200
                                            ST. LOUIS MO 63101




MAZUR AND KITTEL PLLC                       MCCALL ENVIRONMENTAL PA                      MCCALLIE, URSA P
MICHAEL MAZUR                               EUGENE C MCCALL JR EST CO-TRUSTEE            2135 WEST MAPLE RD
30665 NORTHWESTERN HIGHWAY                  100 TOWER DR                                 TROY MI 48084
FARMINGTON HILLS MI 48334                   UNIT 16
                                            GREENVILLE SC 29607




                                                  Page: 35 of 64
                             Case 19-10118-KJC         Doc 2      Filed 01/22/19   Page 39 of 67
MCCARRELL, REX                             MCCAULEY, ARCHIE E                       MCCLANAHAN, KENNETH H
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




MCCLENDON, JANET A                         MCCLOUD, WILLARD E                       MCCONKEY, GARY K
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




MCCONKEY, TODD R                           MCCRARY, MILDRED L                       MCCULLOUCH, ROBERT A
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




MCDERMOTT AND HICKEY LLC                   MCDONALD, CHARLES E                      MCFALLS, LARRY R
CHRISTOPHER HICKEY                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
20525 CTR RIDGE RD STE 200                 TROY MI 48084                            TROY MI 48084
ROCKY RIVER OH 44116




MCGARVEY HEBERLING SULLIVAN AND MCGARVEY   MCGHEE, ROGER D                          MCGILL, RICHARD M
ALLAN MCGARVEY ROGER SULLIVAN              2135 WEST MAPLE RD                       2135 WEST MAPLE RD
745 SOUTH MAIN                             TROY MI 48084                            TROY MI 48084
KALISPELL MT 59901




MCKEE, DONNA K                             MCKEE, FREDDY A                          MCKEE, FREIDA M
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




MCKEE, JOHNNY R                            MCKEE, KENNETH W                         MCKEE, STACY A
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




MCKEEHAN, DARLENE L                        MCKEEHAN, JAMES R                        MCKENNA AND CHIODO PC
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       MARK F MCKENNA
TROY MI 48084                              TROY MI 48084                            436 BLVD OF ALLIES
                                                                                    PITTSBURGH PA 15219




MCKERNAN LAW FIRM                          MCKERNAN LAW FIRM                        MCLAUGHLIN, RAY WINFIELD
GORDON J MCKERNAN                          GORDON J MCKERNAN                        2135 WEST MAPLE RD
8710 JEFFERSON HIGHWAY                     5656 HILTON AVE                          TROY MI 48084
BATON ROUGE LA 70809                       BATON ROUGE LA 70808




MCLEMORE, CHRIS M                          MCMAHAN, GREGORY S                       MCMAHAN, TOMMY J
2135 WEST MAPLE RD                         2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                              TROY MI 48084                            TROY MI 48084




                                                 Page: 36 of 64
                              Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 40 of 67
MCMANAMY JACKSON PC                      MCMILLAN, BILLIE J                       MCMULLIN, BILLIE J
DOUGLAS P MCMANAMY                       2135 WEST MAPLE RD                       2135 WEST MAPLE RD
6600 ABERCORN STE 208                    TROY MI 48084                            TROY MI 48084
SAVANNAH GA 31405




MCNABB, JEFF D                           MCNABB, JONATHAN GREGORY                 MCNABB, MIKE
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                            TROY MI 48084




MCNEW, PAMELA G                          MCPHERSON MONK HUGHES BRADLEY AND        MCQUADE, LEIBOWITZ DAVID
2135 WEST MAPLE RD                       WIMBERLEY                                DAVID LEIBOWITZ
TROY MI 48084                            LANCE BRADLEY                            454 SOLEDAD 2ND FL
                                         3120 CENTRAL MALL DR                     SAN ANTONIO TX 78205
                                         PORT ARTHUR TX 77642




MCREYNOLDS, SCOTT K                      MCSPADDEN, JERRY L                       MEADOWS, JEFFERY P
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                            TROY MI 48084




MEALER, MARGIE M                         MEIER, REBECCA J                         MEIROWITZ AND WASSERBERG LLP
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       SAMUEL MEIROWITZ
TROY MI 48084                            TROY MI 48084                            233 BROADWAY STE 2070
                                                                                  NEW YORK NY 10279




MELTON, CHRISTOPHER H                    MELTON, THOMAS J                         MENGES LAW LLC
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       CARSON MENGES
TROY MI 48084                            TROY MI 48084                            3126 GDN HILL LN
                                                                                  SAINT LOUIS MO 63139




MERITOR INC                              MERRILL COMMUNICATIONS LLC               MERSHON, RANDALL A
CORPORATE SECRETARY                      ONE MERRILL CIR                          2135 WEST MAPLE RD
2135 WEST MAPLE RD                       ST PAUL MN 55108                         TROY MI 48084
TROY MI 48084




METZ, JUDY B                             MICHAEL B SERLING PC                     MICHIE HAMLETT
2135 WEST MAPLE RD                       MICHAEL B SERLING                        BRYAN SLAUGHTER
TROY MI 48084                            280 NORTH OLD WOODWARD AVE               500 CT SQUARE STE 300
                                         BIRMINGHAM MI 48009                      CHARLOTTESVILLE VA 22902-0928




MICHIGAN ATTORNEY GENERAL                MICHIGAN DEPT OF ENERGY LABOR AND        MICHIGAN DEPT OF ENVIRONMENTAL QUALITY
DANA NESSEL                              ECONOMIC GROWTH                          525 WEST ALLEGAN ST
PO BOX 30212                             611 WEST OTTAWA                          PO BOX 30473
525 W OTTAWA ST                          PO BOX 30004                             LANSING MI 48909-7973
LANSING MI 48909-0212                    LANSING MI 48909




MICHIGAN DEPT OF TREASURY                MICHIGAN DEPT OF TREASURY TAX POL DIV    MILLER, APRIL K
UNCLAIMED PROPERTY DIVISION              LITIGATION LIAISON                       2135 WEST MAPLE RD
PO BOX 30756                             430 WEST ALLEGAN ST                      TROY MI 48084
LANSING MI 48909                         2ND FLOOR AUSTIN BUILDING
                                         LANSING MI 48922




                                               Page: 37 of 64
                     Case 19-10118-KJC      Doc 2     Filed 01/22/19   Page 41 of 67
MILLER, CHARLES E               MILLER, DARRYL L                        MILLER, GARRY L
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




MILLER, JERRY A                 MILLER, MARSHALL B                      MILLER, ROBERT G
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




MILLER, SHARON K                MILLER, TOMMY J                         MILLER, WESLEY L
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




MILLS, TRACY G                  MILLSAPS, ROBERT H                      MILLSAPS, TIMOTHY E
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




MINCEY, JIMMY G                 MITCHELL, DAVID L                       MITCHELL, DONNA G
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




MITCHELL, THOMAS E              MONGE AND ASSOCIATES                    MONTGOMERY MCCRACKEN WALKER AND RHOADS
2135 WEST MAPLE RD              SCOTT MONGE                             LLP
TROY MI 48084                   1858 INDEPENDENCE SQUARE                1735 MARKET ST
                                DUNWOODY GA 30338                       PHILADELPHIA PA 19103




MONTOOTH, DONALD C              MONTOOTH, GAYE A                        MONTOOTH, JEFFREY D
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




MOONEY, JACK H                  MOORE, CHARLES E                        MOORE, CLIFFORD W
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




MOORE, DAVID E                  MOORE, ELISA M                          MOORE, JOHN J
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




MOORE, JOYCE A                  MOORE, LANNISA C                        MOORE, LEWIS A
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




                                      Page: 38 of 64
                            Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 42 of 67
MOORE, LISA MAGENA                     MOORE, MARY E                            MOORE, PATRICIA G
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




MOORE, PEGGY A                         MOORE, R C                               MOORE, ROBERT A
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




MOORE, TERESA RENEE                    MOOSE, TIM C                             MOREE, CHRISTY J
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




MOREE, DAVID W                         MORGAN AND MORGAN PA                     MORGAN, CATHERINE A
2135 WEST MAPLE RD                     ROBERT ANDERSON                          2135 WEST MAPLE RD
TROY MI 48084                          20 NORTH ORANGE AVE STE 1600             TROY MI 48084
                                       ORLANDO FL 32801




MORGAN, DAVID M                        MORGAN, JOANN                            MORGAN, JOHN H
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




MORGAN, LESLIE C                       MORGAN, MARJORIE                         MORGAN, MARVIN J
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




MORRIS B CHAPMAN AND ASSOCIATES LTD    MORRIS SAKALARIOS AND BLACKWELL PLLC     MORRIS, ROBERT D
MORRIS B CHAPMAN                       CHARLES G BLACKWELL                      2135 WEST MAPLE RD
1406 NIEDRINGHAUS AVE                  1817 HARDY ST                            TROY MI 48084
GRANITE CITY IL 62040-0519             HATTIESBURG MS 39401




MORRIS, TONIA M                        MORRISON, BRENDA J                       MORRISON, RODNEY D
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




MORTON, WILLIAM C                      MOSES, KENNETH E                         MOSES, TAMMY G
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




MOSES, WILDER C                        MOTLEY RICE LLC                          MOTLEY RICE LLC
2135 WEST MAPLE RD                     JOSEPH F RICE                            28 BRIDGESIDE BVLD
TROY MI 48084                          28 BRIDGESIDE BLVD                       PO BOX 1792
                                       MOUNT PLEASANT SC 29465                  MOUNT PLEASANT SC 29464




                                             Page: 39 of 64
                            Case 19-10118-KJC       Doc 2     Filed 01/22/19   Page 43 of 67
MOUNGER, CHARLES W                     MT MCKINLEY INSURANCE CO                 MT MCKINLEY INSURANCE CO
2135 WEST MAPLE RD                     JAMES C WENDOVER MANAGER CLAIMS          MERLO KANOFSKY BRINKMEIER & GREGG LTD
TROY MI 48084                          477 MARTINSVILLE RD                      MICHAEL R. GREGG, ESQ.
                                       PO BOX 830                               208 SOUTH LASALLE ST
                                       LIBERTY COMER NJ 07938-0830              STE 950
                                                                                CHICAGO IL 60604


MULCAHEY, BELINDA S                    MULROONY, JAMES JOSEPH                   MURIC, RASIM S
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




MURINO, CHARLES                        MURR, ERNEST R                           MURR, RICKY D
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




MURRAY LAW FIRM                        MUSSER, BARBARA S                        MUSSER, BECKY S
STEPHEN B MURRAY SR                    2135 WEST MAPLE RD                       2135 WEST MAPLE RD
STE 2550 LL&E TOWER                    TROY MI 48084                            TROY MI 48084
NEW ORLEANS LA 70112-4000




MUSSER, CHARLES G                      MYERS AND CO P L L C                     MYERS, ALAN C
2135 WEST MAPLE RD                     MIKE MYERS                               2135 WEST MAPLE RD
TROY MI 48084                          1530 EASTLAKE AVE                        TROY MI 48084
                                       SEATTLE WA 98102




MYERS, BARRY T                         MYERS, DOUGLAS E                         MYERS, JUDY W
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




MYERS, KEITH A                         MYERS, KEVIN B                           MYERS, RICHARD A
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




MYERS, RICHARD R                       MYERS, SCOTT L                           MYERS, TAMMY RENEE
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




MYERS, TARESA L                        NAGY, HILLARY A                          NANNI, DOMINIC W
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                            TROY MI 48084




NAPOLI SHKOLNIK PLLC                   NAPOLI SHKOLNIK PLLC                     NASSIOS AND MCLAUGHLIN
HUNTER J SHKOLNIK                      360 LEXINGTON AVE                        TIMOTHY M MCLAUGHLIN
350 FIFTH AVE STE 7413                 11TH FL                                  TIMOTHY M MCLAUGHLIN
STE 7413                               NEW YORK NY 10017                        KNOXVILLE TN 37919
NEW YORK NY 10018




                                             Page: 40 of 64
                            Case 19-10118-KJC      Doc 2      Filed 01/22/19      Page 44 of 67
NAVIGANT CONSULTING INC                NEAS, TIMOTHY N                             NEFF, JUSTIN E
4511 PAYSPHERE CIR                     2135 WEST MAPLE RD                          2135 WEST MAPLE RD
CHICAGO IL 60674                       TROY MI 48084                               TROY MI 48084




NEGEM BICKHAM AND WORTHINGTON          NELSON MULLINS RILEY AND SCARBOROUGH LLP    NELSON, EDWARD D
JIMMY M NEGEM                          PO BOX 11009                                2135 WEST MAPLE RD
440 S VINE AVE                         COLUMBIA SC 29211                           TROY MI 48084
TYLER TX 75702




NELSON, EDWARD L                       NEWTON, WILLIAM                             NICHOLS, GARY E
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                               TROY MI 48084




NICHOLSON, HENRY B                     NINA E, PERRIS                              NIX PATTERSON AND ROACH LLP
2135 WEST MAPLE RD                     PERRIS NINA                                 JEFFREY ANGELOVICH
TROY MI 48084                          2178 KLOCKNER RD                            205 LINDA DR
                                       TRENTON NJ 08690                            DAINGERFIELD TX 75638




NIX, JIMMY L                           NIX, LARRY S                                NIX, NORRIS R
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                               TROY MI 48084




NIX, WILLIAM E                         NOBLE, ALEXANDER E                          NORDSTROM STEELE NICOLETTE AND BLYTHE
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                          RUSSELL E NORDSTROM
TROY MI 48084                          TROY MI 48084                               12400 WILSHIRE BLVD
                                                                                   LOS ANGELES CA 90025




NORFOLK, JAMARR                        NORFOLK, JARROD                             NORFOLK, VENTRUS
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                               TROY MI 48084




NORRIS AND PHELPS                      NORTH, JASON R                              NORTH, JERRY R
LARRY NORRIS                           2135 WEST MAPLE RD                          2135 WEST MAPLE RD
POST OFFICE BOX 8                      TROY MI 48084                               TROY MI 48084
HATTIESBURG MS 39403-0008




NORTON, RANDALL P                      O'BRIEN AND O'BRIEN ASSOCIATES              O'BRIEN LAW FIRM LLC
2135 WEST MAPLE RD                     JOHN J OBRIEN III                           815 GEYER AVE
TROY MI 48084                          257 EAST LANCASTER AVE                      ST. LOUIS MO 63104
                                       WYNNEWOOD PA 19096




OBRIEN LAW FIRM PC                     OBRIEN LAW FIRM PC                          OBRYAN LAW CENTER PC
ANDREW O'BRIEN                         ANDREW O'BRIEN                              DENNIS MICHAEL O'BRYAN
815 GEYER AVE                          815 GEYER AVE                               401 SOUTH OLD WOODWARD
SAINT LOUIS MO 63104                   ST. LOUIS MO 63104                          BIRMINGHAM MI 48009




                                             Page: 41 of 64
                              Case 19-10118-KJC       Doc 2      Filed 01/22/19   Page 45 of 67
ODOM LAW FIRM                            OGAN, DARREL                              OGLE, PAUL R
BOBBY LEE ODOM                           310 TEAKWOOD DR                           2135 WEST MAPLE RD
PO BOX 1868                              BAKERSFIELD CA 93308-4116                 TROY MI 48084
FAYETTEVILLE AR 72701




OHIO AIR QUALITY DEVELOPMENT AUTHORITY   OHIO ATTORNEY GENERAL                     OHIO DEPT OF COMMERCE
50 W BROAD ST                            MIKE DEWINE                               DIRECTOR
STE 1718                                 STATE OFFICE TOWER                        77 SOUTH HIGH ST 23RD FL
COLUMBUS OH 43215                        30 E BROAD ST 14TH FL                     COLUMBUS OH 43215-6123
                                         COLUMBUS OH 43431




OHIO DEPT OF COMMERCE                    OHIO DEPT OF NATURAL RESOURCES            OHIO ENVIRONMENTAL PROTECTION AGENCY
DIVISION OF UNCLAIMED FUNDS              2045 MORSE RD                             OFFICE OF THE DIRECTOR
77 SOUTH HIGH ST                         BLDG D                                    50 WEST TOWN ST STE 700
20TH FL                                  COLUMBUS OH 43229-6693                    COLUMBUS OH 43215
COLUMBUS OH 43215-6108




OKLAHOMA CONSERVATION COMMISSION         OKLAHOMA DEPT OF ENVIRONMENTAL QUALITY    OKLAHOMA DEPT OF ENVIRONMENTAL QUALITY
2800 N LINCOLN BLVD                      707 N ROBINSON                            LAND PROTECTION DIV- VOLUNTARY CLEAN UP
STE 160                                  PO BOX 1677                               PROG
OKLAHOMA CITY OK 73105                   OKLAHOMA CITY OK 73101-1677               OSCAR ESPARZA, PROJECT MANAGER
                                                                                   707 NORTH ROBINSON
                                                                                   OKLAHOMA CITY OK 73102


OLSON, GARY K                            OODY, MARSHA A                            OWENBY, REGINA D
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




OWENS, HAZEL G                           OWENS, THOMAS J                           OWNBY, BARRY A
2135 WEST MAPLE RD                       RECENTLY DECEASED                         2135 WEST MAPLE RD
TROY MI 48084                            1001 FOURTH AVE PLZ STE 4400              TROY MI 48084
                                         SEATTLE WA 98154




OXHOLM, JOSE                             PACE CLAIMS SVC                           PACE, CASEY D
MAREMONT CORPORATION ET AL               JENNIFER HOLGADO                          2135 WEST MAPLE RD
2135 WEST MAPLE RD                       100 AMERICAN METRO BLVD                   TROY MI 48084
TROY MI 48084                            STE 108
                                         HAMILTON NJ 08619




PACE, DANNY H                            PACE, RHONDA R                            PALMER, CHARLES C
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




PALMER, CHARLES U                        PALMER, CHRISTI L                         PALMER, DOUGLAS J
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




PALMER, GREG L                           PALMER, WILLIAM A                         PARKER, DAVID J
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




                                               Page: 42 of 64
                               Case 19-10118-KJC      Doc 2     Filed 01/22/19        Page 46 of 67
PARKER, TRISHA A                          PARRIS, DANNY E                              PARRIS, ERIC B
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                           2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                                TROY MI 48084




PARSA JAMES M AND ASSOCIATES PLC          PARTON, JERRY R                              PASS, BOBBY B
JAMES PARSA                               2135 WEST MAPLE RD                           2135 WEST MAPLE RD
2183 FAIRVIEW RD                          TROY MI 48084                                TROY MI 48084
COSTA MESA CA 92627




PATTEN WORNOM HATTEN AND DIAMONSTEIN LC   PATTERSON, JOHNNY C                          PATTERSON, RACHEL R
ROBERT HATTEN                             2135 WEST MAPLE RD                           2135 WEST MAPLE RD
12350 JEFFERSON AVE                       TROY MI 48084                                TROY MI 48084
NEWPORT NEWS VA 23602




PATTY JR, CLIFTON M                       PAUL B, KUSBACH                              PAUL REICH AND MYERS PC
CLIFTON M PATTY JR                        PAUL B KUSBACH                               ROBERT PAUL
7731 NASHVILLE ST                         120 W LASALLE AVE                            1608 WALNUT ST
RINGGOLD GA 30736                         SOUTH BEND IN 46601                          PHILADELPHIA PA 19103




PEAK, THOMAS W                            PEELER, JONATHAN R                           PENNINGTON, KEVIN M
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                           2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                                TROY MI 48084




PEPPLE JOHNSON CANTU AND SCHMIDT PLLC     PERKEY, KEVIN E                              PERRY AND SENSOR
JACKSON SCHMIDT                           2135 WEST MAPLE RD                           MICHAEL L SENSOR
1501 WESTERN AVE                          TROY MI 48084                                JAMES T PERRY
SEATTLE WA 98101                                                                       FIRST FEDERAL PLZ
                                                                                       WILMINGTON DE 19899




PEYTON LAW FIRM                           PHELPS, KENNETH E                            PHILLIPS, KRISTIE L
HARVEY D PEYTON                           2135 WEST MAPLE RD                           2135 WEST MAPLE RD
2801 FIRST AVE                            TROY MI 48084                                TROY MI 48084
NITRO WV 25143




PICKEL, CAROLYN M                         PIERCE SLOAN WILSON KENNEDY AND EARLY LLC    PIKE PHOTOCOPY INC
2135 WEST MAPLE RD                        321 EAST BAY ST                              PO BOX 64430
TROY MI 48084                             PO BOX 22437                                 LOS ANGELES CA 90064
                                          CHARLESTON SC 29413




PITKOW, HAL C                             PLEMMONS, BETTY E                            PLEMONS, ARNOLD D
HAL C PITKOW PRINCIPAL                    2135 WEST MAPLE RD                           2135 WEST MAPLE RD
102 POND VIEW DR                          TROY MI 48084                                TROY MI 48084
WASHINGTON CROSSING PA 18977




PLEMONS, FRED W                           POE, SHERRY L                                POHLMAN USA COURT REPORTING
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                           10 SOUTH BROADWAY
TROY MI 48084                             TROY MI 48084                                STE 1400
                                                                                       ST. LOUIS MO 63102




                                                Page: 43 of 64
                             Case 19-10118-KJC       Doc 2      Filed 01/22/19   Page 47 of 67
POLSINELLI PC                           POOLE, DANIEL T                           PORTER AND MALOUF
900 W 48TH PL                           2135 WEST MAPLE RD                        PATRICK C MALOUF
STE 900                                 TROY MI 48084                             4465 I55 NORTH STE 301
KANSAS CITY MO 64112                                                              STE 301
                                                                                  JACKSON MS 39236




PORTER, STEPHEN R                       POURCIAU LAW FIRM                         POWERS, TREVOR L
2135 WEST MAPLE RD                      DAMON R POURCIAU                          2135 WEST MAPLE RD
TROY MI 48084                           2200 VETERANS MEMORIAL BLVD STE 210       TROY MI 48084
                                        KENNER LA 70062




PRCCW HOLDINGS LLC                      PRESLEY, ALBERT E                         PRESLEY, AMY M
10 S BROADWAY                           2135 WEST MAPLE RD                        2135 WEST MAPLE RD
STE 1400                                TROY MI 48084                             TROY MI 48084
ST. LOUIS MO 63102




PRESLEY, BILLY J                        PRESLEY, BRANDON L                        PRESLEY, DEANNA CHRISTINE
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                             TROY MI 48084




PRESLEY, EUGENE E                       PRESLEY, GEORGE H                         PRESLEY, JIMMY A
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                             TROY MI 48084




PRESLEY, MARGARET                       PRESLEY, PHILLIP G                        PRESLEY, VIVIAN G
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                             TROY MI 48084




PRESLEY, WILLIAM M                      PRICE WAICUKAUSKI AND RILEY LLC           PRICE, BRUCE E
2135 WEST MAPLE RD                      RONALD J WAICUKAUSKI                      2135 WEST MAPLE RD
TROY MI 48084                           3815 RIVER CROSSING PKWY                  TROY MI 48084
                                        INDIANAPOLIS IN 46240




PRICE, JAMES R                          PRICE, JOHNNY R                           PRICE, KELLEY R
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                             TROY MI 48084




PRICE, LOLA C                           PRICE, WILLIAM A                          PRICEWATERHOUSE COOPERS LLP
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                        PO BOX 75647
TROY MI 48084                           TROY MI 48084                             CHICAGO IL 60675-5647




PRIDDY CUTLER MILLER AND MEADE PLLC     PRIM LAW FIRM PLLC                        PRINCE, BEVERLY M
ALTON PRIDDY                            BRIAN ALAN PRIM                           2135 WEST MAPLE RD
429 W MUHAMMAD ALI                      3825 TEAYS VLY RD STE 200                 TROY MI 48084
LOUISVILLE KY 40202                     HURRICANE WV 25526




                                              Page: 44 of 64
                           Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 48 of 67
PRINCE, CHARLES D                     PRINCE, WILLIAM E                        PRINDLE DECKER AND AMARO LLP
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                       310 GOLDEN SHORE
TROY MI 48084                         TROY MI 48084                            4TH FL
                                                                               LONG BEACH CA 90802




PRITCHARD LAW FIRM PLLC               PRITCHETT, MILDRED D                     PROVOST UMPHREY LAW FIRM LLP
ROBERT A PRITCHARD                    2135 WEST MAPLE RD                       WALTER UMPHREY
1325 CANTY ST                         TROY MI 48084                            490 PK ST
PASCAGOULA MS 39568-1707                                                       BEAUMONT TX 77701




PROVOST, TRACY L                      PUCKETT, LONNIE G                        PUCKETT, RUSSELL A
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                            TROY MI 48084




PUCKHABER, CARL W                     PURDY, ASTOR D                           PURKEY, CHARLES L
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                            TROY MI 48084




QUARLES AND BRADY LLP                 QUEENER, RONNIE                          QUINCEY BECKER SCHUESSLER AND CHASE SC
BIN 88895                             2135 WEST MAPLE RD                       TOM SCHUESSLER
MILWAUKEE WI 53288-0895               TROY MI 48084                            130A PK AVE
                                                                               BEAVER DAM WI 53916




RABERN, JASON L                       RABERN, JEFFREY L                        RABERN, MICHAEL S
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                            TROY MI 48084




RABERN, NICOLE M                      RABY, RANDY S                            RAKAUSKI, PENN
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                       PENN RAKAUSKI
TROY MI 48084                         TROY MI 48084                            927 MAIN ST
                                                                               RACINE WI 53403




RAMEY, TOBIN D                        RAMSEY ANDREWS SOREY AND RAMSEY          RANEY, PATSY G
2135 WEST MAPLE RD                    WILLIAM W RAMSEY                         2135 WEST MAPLE RD
TROY MI 48084                         1221 GROVE ST                            TROY MI 48084
                                      VICKSBURG MS 39183




RANGE, JAMES D                        RANGE, PRISCILLA A                       RANGE, RICKY L
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                            TROY MI 48084




RAPER, JOE E                          RAPKING, PATRICK D                       RAWLE AND HENDERSON LLP
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                       [DEFENSE LAW FIRM]
TROY MI 48084                         TROY MI 48084                            1339 CHESTNUT ST ONE SOUTH PENN SQ
                                                                               PHILADELPHIA PA 19107




                                            Page: 45 of 64
                             Case 19-10118-KJC      Doc 2         Filed 01/22/19   Page 49 of 67
RAY, JUANITA A                          RAYNES MCCARTY BINDER ROSS AND MUNDY        REAGAN, WINSTON D
2135 WEST MAPLE RD                      HAROLD I GOODMAN                            2135 WEST MAPLE RD
TROY MI 48084                           116 WHITE HORSE PIKE                        TROY MI 48084
                                        HADDON HEIGHTS NJ 08035




REAUD MORGAN AND QUINN INC              REBECCA S VINOCUR PA                        REDMON, GREGORY P
GLEN W MORGAN                           REBECCA S VINOCUR                           2135 WEST MAPLE RD
801 LAUREL ST                           5915 PONCE DE LEON BLVD                     TROY MI 48084
BEAUMONT TX 77720-6005                  CORAL GABLES FL 33146




REDMOND, CAROLYN A                      REEVES, DEBRA D                             REILLY MCDEVITT HENRICH AND CHOLDEN PC
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                          3 EXECUTIVE CAMPUS
TROY MI 48084                           TROY MI 48084                               STE 310
                                                                                    CHERRY HILL NJ 08002




RETHMEL, MITCHEL J                      REYES OSHEA AND COLOCA PA                   REYNOLDS, CLAUDE W
2135 WEST MAPLE RD                      ANGEL M REYES                               2135 WEST MAPLE RD
TROY MI 48084                           345 PALERMO AVE                             TROY MI 48084
                                        CORAL GABLES FL 33134




REYNOLDS, CYNTHIA J                     REYNOLDS, JACKIE M                          REYNOLDS, JIMMY A
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                               TROY MI 48084




REYNOLDS, RICKY A                       REYNOLDS, VIRGIL J                          RG TAYLOR II PC AND ASSOCIATES
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                          ROBERT G TAYLOR
TROY MI 48084                           TROY MI 48084                               500 DALLAS ST
                                                                                    HOUSTON TX 77002




RICE, JASON F                           RICE, MELISSA L                             RICHARD HOBIN LAW OFFICE
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                          RICHARD HOBIN
TROY MI 48084                           TROY MI 48084                               1011 A ST
                                                                                    ANTIOCH CA 94509




RICHARDSON PATRICK WESTBROOK AND        RICHARDSON PATRICK WESTBROOK AND            RICHARDSON, NANCY S
BRICKMAN LLC                            BRICKMAN LLC                                2135 WEST MAPLE RD
TERRY E RICHARDSON JR                   TERRY E RICHARDSON JR                       TROY MI 48084
USE SOUTH CAROLINA ADDRESS              MARK TWAIN PLZ II
MARK TWAIN PLZ II                       EDWARDSVILLE IL 62025
EDWARDSVILLE IL 62025


RICHARDSON, PATRICK S                   RICHARDSON, RANDALL R                       RICHARDSON, WAYNE J
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                               TROY MI 48084




RICHARDSON, WILLIAM T                   RICHESIN, JANIE M                           RICKMAN, JAMES R
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                               TROY MI 48084




                                              Page: 46 of 64
                               Case 19-10118-KJC      Doc 2     Filed 01/22/19   Page 50 of 67
RIDDLE, SCOTT A                           RIFFE, ANITA J                          RISHER, ANN S
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




RISHER, JOHNNY W                          RITCHEY, BEN R                          RITCHEY, KIMBERLY D
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




RITCHEY, LOUISE TORBETT                   RITCHEY, MYRTLE A                       RITCHIE, MICHAEL H
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




RITCHIE, WHITNEY G                        ROARK, CHRISTY M                        ROARK, MARGARET E
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




ROBERT E SWEENEY CO LPA                   ROBERT PEIRCE AND ASSOCIATES PC         ROBERTS JR, WILSON WILLIAM
ROBERT E SWEENEY                          ROBERT N PEIRCE                         WM ROBERTS WILSON III
ILLUMINATING BLDG STE 1500                2500 GULF TOWER                         4465 I55 NORTH STE 201
CLEVELAND OH 44113                        PITTSBURGH PA 15219-1912                JACKSON MS 39206




ROBERTS WILSON PA                         ROBERTS, BILLY J                        ROBERTS, CHARLES E
WM ROBERTS WILSON III                     2135 WEST MAPLE RD                      2135 WEST MAPLE RD
1124 NORTH LAMAR STE A                    TROY MI 48084                           TROY MI 48084
OXFORD MS 38655




ROBERTS, DUANE K                          ROBERTS, EARL L                         ROBERTS, LINDA L
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




ROBINS CLOUD LLP                          ROBINS, WILLIAM B                       ROBINSON & COLE LLP
IAN CLOUD                                 2135 WEST MAPLE RD                      NATALIE D RAMSEY
808 WILSHIRE BLVD                         TROY MI 48084                           1000 NORTH WEST STREET
SANTA MONICA CA 90401                                                             STE 1200
                                                                                  WILMINGTON DE 19801




ROBINSON & COLE LLP                       ROBINSON, DALE A                        ROBINSON, DANIEL JOE
MARK A FINK                               2135 WEST MAPLE RD                      2135 WEST MAPLE RD
CHRYSLER EAST BUILDING                    TROY MI 48084                           TROY MI 48084
666 THIRD AVENUE, 20TH FLOOR
NEW YORK NY 10017




ROBINSON, DOUGLAS R                       ROBINSON, MISTY D                       ROBLES LOUIS S PA
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      LOUIS S ROBLES
TROY MI 48084                             TROY MI 48084                           100 SOUTH BISCAYNE BLVD STE 900
                                                                                  MIAMI FL 33131-2026




                                                Page: 47 of 64
                              Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 51 of 67
RODGERS, ROY E                           RODMAN RODMAN AND SANDMAN PC             ROGERS, DOUGLAS W
2135 WEST MAPLE RD                       STEVEN J RODMAN                          2135 WEST MAPLE RD
TROY MI 48084                            ONE MALDEN SQUARE BLDG                   TROY MI 48084
                                         MALDEN MA 02148-5122




ROGERS, TAMMIE S                         ROLEN, LISA K                            ROLLER, KASSANDRA C
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                            TROY MI 48084




ROMANO LAW GROUP                         RONALD J SHINGLER ATTORNEY AT LAW        ROSE KLEIN AND MARIAS LLP
JOHN ROMANO ERIC ROMANO AND              RONALD J SHINGLER                        ALAN P RIFFEL
TODD ROMANO                              3220 LONE TREE WAY                       801 S GRAND AVE
PO BOX 21349                             ANTIOCH CA 94509                         LOS ANGELES CA 90017-4645
WEST PALM BCH FL 33416




ROSE, JEFFREY A                          ROVENKAPLAN LLP                          ROWLAND AND ROWLAND PC
2135 WEST MAPLE RD                       JOHN D ROVEN                             ELIZABETH ANN ROWLAND
TROY MI 48084                            2190 NORTH LOOP WEST                     312 S GAY ST
                                         HOUSTON TX 77018                         KNOXVILLE TN 37902-2111




RUCKER, BRANDI L                         RUEBUSH, LARRY L                         RUSSELL, BETTY R
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                            TROY MI 48084




RUSSELL, BILLY                           RUSSELL, BRIAN A                         RUSSELL, CHRISTY R
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                            TROY MI 48084




RUSSELL, DARRELL G                       RUSSELL, EVELYN C                        RUSSELL, GABRIEL R
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                            TROY MI 48084




RUSSELL, GARY W                          RUSSELL, HENRITTA                        RUSSELL, JOE B
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                            TROY MI 48084




RUSSELL, LARRY E                         RUSSELL, TONYA A                         RYAN A FOSTER AND ASSOCIATES PLLC
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                       RYAN A FOSTER
TROY MI 48084                            TROY MI 48084                            440 LOUISIANA
                                                                                  HOUSTON TX 77002




RYAN, MATTHEW D                          SACKS AND SACKS                          SAFFLES, JIMMY W
2135 WEST MAPLE RD                       EVAN SACKS AND KENNETH SACKS             2135 WEST MAPLE RD
TROY MI 48084                            170 BROADWAY                             TROY MI 48084
                                         NEW YORK NY 10038




                                               Page: 48 of 64
                        Case 19-10118-KJC      Doc 2      Filed 01/22/19   Page 52 of 67
SAMPSON, JANE                      SANCHEZ ISAVA, HECTOR JESUS              SANCHEZ, JOHN A
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                            TROY MI 48084




SANDERS, CECIL R                   SARAH PASZKIEWICZ REPORTING INC          SARTIN, JAMES E
2135 WEST MAPLE RD                 316 GRINDSTONE RD                        2135 WEST MAPLE RD
TROY MI 48084                      CHATHAM IL 62629                         TROY MI 48084




SARTIN, JASON E                    SARTIN, MARCHITA M                       SARTIN, MARY H
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                            TROY MI 48084




SARTIN, ROBERT G                   SAVAGE, MARILYN D                        SAVINIS KANE AND GALLUCCI LLC
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                       JANICE M SAVINIS
TROY MI 48084                      TROY MI 48084                            707 GRANT ST
                                                                            PITTSBURGH PA 15219




SAYERS, TIMOTHY W                  SCARBROUGH, BETTY J                      SCARBROUGH, JERRY L
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                            TROY MI 48084




SCHAFFER, HARRISON E               SCHEMITZ, THERESA A                      SCHIFFER ODOM HICKS AND JOHNSON
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                       ANDREW S HICKS
TROY MI 48084                      TROY MI 48084                            700 LOUISIANA ST #2650
                                                                            HOUSTON TX 77002




SCHLECHTY, STEVEN D                SCHNADER HARRISON SEGAL AND LEWIS LLP    SCHOEN WALTON TELKEN AND FOSTER LLC
2135 WEST MAPLE RD                 1600 MARKET ST                           TROY E WALTON
TROY MI 48084                      STE 3600                                 412 MISSOURI AVE
                                   PHILADELPHIA PA 19103                    EAST SAINT LOUIS IL 62201




SCHRIMSHER, FRANCES M              SCHRIMSHER, ROBERT D                     SCHWEISTHAL, THOMAS G
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                            TROY MI 48084




SCOTT, BENNIE P                    SCOTT, DENNIS H                          SCOTT, JERRY G
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                            TROY MI 48084




SCOTT, JUDY A                      SCOTT, KIMBERLY K                        SCOTT, LUKE M
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                       2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                            TROY MI 48084




                                         Page: 49 of 64
                             Case 19-10118-KJC          Doc 2        Filed 01/22/19    Page 53 of 67
SCOTT, NAOMI R                              SEAVERS, GINA LUVAUGHN                      SECURITIES AND EXCHANGE COMMISSION
2135 WEST MAPLE RD                          2135 WEST MAPLE RD                          NY REG OFFICE BANKRUPTCY DEPT
TROY MI 48084                               TROY MI 48084                               BROOKFIELD PL
                                                                                        200 VESEY ST STE 400
                                                                                        NEW YORK NY 10281-1022




SECURITIES AND EXCHANGE COMMISSION          SECURITIES AND EXCHANGE COMMISSION          SEEGER WEISS LLP
SEC OF THE TREASURY OFFICE OF GEN COUNSEL   PHIL OFC BANKRUPTCY DEPT                    CHRISTOPHER A SEEGER
100 F ST NE                                 ONE PENN CENTER                             ONE WILLIAM ST
WASHINGTON DC 20549                         1617 JFK BLVD STE 520                       NEW YORK NY 10004
                                            PHILADELPHIA PA 19103




SEGAL LAW FIRM                              SEGAL MCCAMBRIDGE SINGER AND MAHONEY LTD    SELVAGE, PAM S
SCOTT SEGAL                                 233 S WACKER DR                             2135 WEST MAPLE RD
810 KANAWHA BLVD EAST                       STE 500                                     TROY MI 48084
CHARLESTON WV 25301                         CHICAGO IL 60606




SELVIDGE, FRANKLIN S                        SELVIDGE, LOUISE                            SELVIDGE, NANCY
2135 WEST MAPLE RD                          2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                               TROY MI 48084                               TROY MI 48084




SEWELL, TRACY A                             SEXTON, DOUGLAS B                           SEXTON, VICKY K
2135 WEST MAPLE RD                          2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                               TROY MI 48084                               TROY MI 48084




SHACKELFORD, STEPHEN L                      SHAFFER, JOANN                              SHANNON LAW FIRM PLLC
STEPHEN L SHACKELFORD                       2135 WEST MAPLE RD                          JAMES SHANNON
2001 AIRPORT RD STE 301                     TROY MI 48084                               100 WEST GALLATIN ST
JACKSON MS 39208                                                                        HAZLEHURST MS 39083




SHARP, CHRIS W                              SHARP, LEON R                               SHEIN LAW CENTER LTD
2135 WEST MAPLE RD                          2135 WEST MAPLE RD                          BENJAMIN SHEIN
TROY MI 48084                               TROY MI 48084                               121 SOUTH BROAD ST
                                                                                        PHILADELPHIA PA 19107




SHELBY AND CARTEE                           SHELTON-BROWN, WILMA F                      SHEPHERD, CHRIS J
JONATHAN W CARTEE                           2135 WEST MAPLE RD                          2135 WEST MAPLE RD
2956 RHODES CIR                             TROY MI 48084                               TROY MI 48084
BIRMINGHAM AL 35205




SHERRILL, SANDRA C                          SHEWMAKER, DONALD R                         SHIRK, CAROL L
2135 WEST MAPLE RD                          2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                               TROY MI 48084                               TROY MI 48084




SHIVERS GOSNAY AND GREATREX LLC             SHOEMAKER, ALBERT R                         SHOOSTER, MICHAEL S
GREGG A SHIVERS                             2135 WEST MAPLE RD                          2135 WEST MAPLE RD
1415 RTE 70 EAST                            TROY MI 48084                               TROY MI 48084
CHERRY HILL NJ 08034




                                                  Page: 50 of 64
                               Case 19-10118-KJC      Doc 2     Filed 01/22/19   Page 54 of 67
SHOPE, CARROLL D                          SHRADER AND ASSOCIATES LLP              SHRADER AND ASSOCIATES LLP
2135 WEST MAPLE RD                        JUSTIN H SHRADER                        JUSTIN SHRADER
TROY MI 48084                             3900 ESSEX LN STE 390                   3900 ESSEX LN STE 390
                                          HOUSTON TX 77027                        STE 390
                                                                                  HOUSTON TX 77027




SHRADER AND WILLIAMSON LLP                SHRADER AND WILLIAMSON LLP              SHUBERT, BOBBY J
2201 TIMBERLOCH PL                        JUSTIN SHRADER                          2135 WEST MAPLE RD
MONTGOMERY TX 77380                       2201 TIMBERLOCH PL                      TROY MI 48084
                                          MONTGOMERY TX 223662




SHUBERT, BOBBY L                          SHUBERT, CHARLES A                      SHUBERT, JESSIE R
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




SHUBERT, KATHERINE A                      SHUBERT, RICHARD A                      SHUBERT, SAMMY A
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




SHUBERT, WILLIAM L                        SHULTZ, CHARLOTTE J                     SHULTZ, LUTHER J
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




SIEBEN POLK PA                            SIELOFF, RONALD A                       SILBER PEARLMAN LLP
MICHAEL S POLK                            2135 WEST MAPLE RD                      LINDA PEARLMAN
999 WESTVIEW DR                           TROY MI 48084                           2711 N HASKELL AVE
HASTINGS MN 55033                                                                 DALLAS TX 75204




SILER, CURTIS D                           SILVEY, JAMES A                         SILVEY, JAMES D
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




SIMERLY, RONNIE D                         SIMKE CHODOS SILBERFELD AND ANTEAU      SIMMONS HANLY CONROY LLC
2135 WEST MAPLE RD                        DAVID M CHODOS                          PERRY J BROWDER
TROY MI 48084                             6300 WILSHIRE BLVD                      707 BERKSHIRE BLVD
                                          LOS ANGELES CA 90048                    EAST ALTON IL 62024




SIMON GREENSTONE PANATIER PC              SIMPSON, GEORGE R                       SIMPSON, ROSIE M
JEFFREY SIMON                             2135 WEST MAPLE RD                      2135 WEST MAPLE RD
301 EAST OCEAN BLVD                       TROY MI 48084                           TROY MI 48084
LONG BEACH CA 90802




SIMS, DANIEL C                            SISK, HENRY C                           SITZLAR, BERNITTA J
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                           TROY MI 48084




                                                Page: 51 of 64
                     Case 19-10118-KJC      Doc 2     Filed 01/22/19   Page 55 of 67
SITZLER, GRANT W                SLEDGE, HENRY E                         SLEDGE, WALTER S
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




SLIGER, BILLY G                 SLOAN, MARK A                           SLOAN, WILLIAM W
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




SLUSHER, SAMUEL G               SMALLEN, ALMA L                         SMALLEN, BYRON D
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




SMALLEN, GILLIS D               SMALLEN, HENRY B                        SMALLEN, JAMES L
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




SMALLEN, JAMES R                SMALLEN, JUDY J                         SMALLEN, NORMAN E
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




SMALLEN, RONALD V               SMALLEN, WYMAN S                        SMALLWOOD, BRUCE A
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




SMALLWOOD, KAREN S              SMITH JENKINS PC                        SMITH MURPHY AND SCHOEPPERLE
2135 WEST MAPLE RD              WILSON R SMITH                          786 ELLICOTT SQUARE BLDG
TROY MI 48084                   355-A COMMERCIAL DR                     BUFFALO NY 14203-2580
                                SAVANNAH GA 31406




SMITH, BETTY M                  SMITH, BONNIE J                         SMITH, DAVID B
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




SMITH, DAVID L                  SMITH, EDWARD L                         SMITH, ELIZABETH D
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




SMITH, H WAYNE                  SMITH, JERRY A                          SMITH, LIONELL
2135 WEST MAPLE RD              2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                   TROY MI 48084                           TROY MI 48084




                                      Page: 52 of 64
                            Case 19-10118-KJC         Doc 2      Filed 01/22/19     Page 56 of 67
SMITH, MARGIE A                           SMITH, MARK JOSEPH                         SMITH, RUSSELL
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                         RUSSELL SMITH
TROY MI 48084                             TROY MI 48084                              159 S MAIN ST
                                                                                     AKRON OH 44308




SMITH, SONJA L                            SMITH, TENNESSEE                           SMITH, THOMAS G
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                              TROY MI 48084




SMITH, VALERIE G                          SMITHERS, BOBBY G                          SMOLEN, MARK R
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                              TROY MI 48084




SNODERLY, TERESA F                        SNOOK, JAMES A                             SNOOK, STEVEN J
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                              TROY MI 48084




SNOOK, TALFRED G                          SNUGGS, JOSEPH W                           SNYDER, BRAD E
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                              TROY MI 48084




SNYDER, PATRICIA L                        SOCIAL SECURITY ADMINISTRATION             SOHA AND LANG PS
2135 WEST MAPLE RD                        OFFICE OF THE GEN COUNSEL REGION 3         1325 FOURTH AVE
TROY MI 48084                             300 SPRING GDN ST                          STE 2000
                                          PHILADELPHIA PA 19123                      SEATTLE WA 98101-2570




SOHA AND LANG PS                          SORENSEN AND MOELLER LAW                   SOS OF MICHIGAN
1325 4TH AVE                              JOHN G SORENSEN                            RUTH JOHNSON
STE 2000                                  22 N 3RD ST                                MICHIGAN DEPARTMENT OF STATE
SEATLE WA 98101                           CLEAR LAKE IA 50428                        LANSING MI 48919




SOS OF OHIO                               SOUTH CAROLINA DEPT OF HEALTH              SOUTH CAROLINA DEPT OF HEALTH AND ENVIR
JON HUSTED                                AND ENVIRONMENTAL CONTROL                  CONTR
180 EAST BROAD ST                         2600 BULL ST                               BUREAU OF LAND & WASTE MGT-WASTE MGT DIV
16TH FL                                   COLUMBIA SC 29201                          W SCOTT MCINNIS - PROJECT MANAGER
COLUMBUS OH 43215                                                                    2600 BULL ST
                                                                                     COLUMBIA SC 29201


SOUTH CAROLINA DEPT OF HEALTH AND ENVIR   SOUTH CAROLINA DEPT OF HEALTH AND ENVIR    SOUTH CAROLINA DEPT OF NATURAL RESOURCES
CONTR                                     CONTR                                      RAMBERT C DENNIS BLDG
BUREAU OF LAND AND WASTE MGT-VOLUNTARY    BUREAU OF LAND & WASTE MGT -VOLUNTARY      1000 ASSEMBLY ST
CLEANU                                    CLEANUP                                    COLUMBIA SC 29201
MS. REGAN RAHN, PROJECT MANAGER           MS. KIMBERLY KUHN, PROJECT MANAGER
2600 BULL ST                              2600 BULL STREET
COLUMBIA SC 29201                         COLUMBIA SC 29201

SPECIAL COUNSEL INC                       SPRADLIN, LARONICA S                       SPROW, STEVE W
DEPT CH 14305                             2135 WEST MAPLE RD                         PO BOX 158
PALATINE IL 60055-4305                    TROY MI 48084                              PAULDING OH 45879




                                                Page: 53 of 64
                        Case 19-10118-KJC      Doc 2     Filed 01/22/19   Page 57 of 67
SPURGEON, GRACE M                  SQUIRES, MARY A                         SQUIRES, RICHARD L
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




ST LOUIS UNIVERSITY                ST PIERRE, GEORGE L                     STAFFORD, DONNA K
DEPT OF PATHOLOGY                  2135 WEST MAPLE RD                      2135 WEST MAPLE RD
1402 SOUTH GRAND BLVD              TROY MI 48084                           TROY MI 48084
ST. LOUIS MO 63104




STAFFORD, JERRY T                  STAFFORD, JIMMY R                       STAFFORD, MICHAEL A
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




STAIR, SANDRA DARLENE              STAMEY, REED A                          STAMEY, SCARLETT L
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




STANDRIDGE, BETTY J                STANDRIDGE, DALE L                      STANDRIDGE, RALPH M
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




STANDRIDGE, THOMAS E               STANTEC CONSULTING SVC INC              STANTON AND SORENSEN
2135 WEST MAPLE RD                 13980 COLLECTIONS CTR DR                JAMES M STANTON
TROY MI 48084                      CHICAGO IL 60693                        22 NORTH THIRD ST
                                                                           CLEAR LAKE IA 50428




STARRITT, KENNY                    STARRITT, RONNIE                        STEBBINS AND PINKERTON PLLC
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      SHAWNA N PINKERTON
TROY MI 48084                      TROY MI 48084                           1632 KANAWHA BLVD EAST
                                                                           CHARLESTON WV 25311




STEDAM, JASON L                    STEMEYE, RICKY R                        STEPHEN I LESHNER PC
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      STEPHEN I LESHNER
TROY MI 48084                      TROY MI 48084                           1440 EAST MISSOURI AVE
                                                                           PHOENIX AZ 85014




STEPHEN, MEGAN MARIE               STEPHENS, WILLIAM A                     STEVENS, PAUL K
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




STINNETT, JOY L                    STOKES, KETHIA D                        STONE, MELINDA L
2135 WEST MAPLE RD                 2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                      TROY MI 48084                           TROY MI 48084




                                         Page: 54 of 64
                             Case 19-10118-KJC      Doc 2       Filed 01/22/19   Page 58 of 67
STOVALL, JERMAINE T                     STOVER, TIMOTHY M                         STRAYER, CLAIR R
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                             TROY MI 48084




STULTZ, BRANDY M                        SUDDATH, BRIAN K                          SUERTH, PATTY K
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                             TROY MI 48084




SUERTH, STEVE C                         SULLIVAN AND SULLIVAN PLLC                SULLIVAN AND SULLIVAN PLLC
2135 WEST MAPLE RD                      SULLIVAN J ROBERT SR                      SULLIVAN J ROBERT SR
TROY MI 48084                           POST OFFICE BOX 45                        415 NORTH MAGNOLIA ST STE 406
                                        LAUREL MS 39441                           LAUREL MS 39440




SUMMERS RUFOLO AND RODGERS              SUMMERS RUFOLO AND RODGERS                SUMNER, ANGELA VEST
JERRY H SUMMERS                         JERRY H SUMMERS                           2135 WEST MAPLE RD
THE JAMES BLDG                          735 BROAD ST STE 800                      TROY MI 48084
CHATTANOOGA TN 37402                    CHATTANOOGA TN 37402




SUTHERS LAW FIRM                        SWANSON THOMAS COON AND NEWTON            SWARTZFAGER, JON A
JOHN SUTHERS                            RAYMOND F THOMAS                          JON SWARTZFAGER
PO BOX 8847                             820 SW SECOND AVE STE 200                 442 N 6TH AVE
SAVANNAH GA 31412                       PORTLAND OR 97204                         LAUREL MS 39440




SWEENEY, GAIBHEANN F                    SWEET AND FREESE PLLC                     SWEETEN, DANNY L
2135 WEST MAPLE RD                      RICHARD A FREESE                          2135 WEST MAPLE RD
TROY MI 48084                           201 N PRESIDENT ST                        TROY MI 48084
                                        JACKSON MS 39201




SWISHER, ROBERT L                       SWMW LAW LLC                              SWMW LAW LLC
2135 WEST MAPLE RD                      BENJAMIN SCHMICKLE                        701 MARKET ST
TROY MI 48084                           701 MARKET ST #1575                       STE 1000
                                        ST. LOUIS MO 63101                        ST. LOUIS MO 63101




SYKORA, DONALD                          SYLVESTER, WILLIAM P                      SZAFERMAN LAKIND BLUMSTEIN BLADER AND
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                        LEHMANN PC
TROY MI 48084                           TROY MI 48084                             BARRY D SZAFERMAN
                                                                                  101 GROVERS MILL RD
                                                                                  LAWRENCEVILLE NJ 08648




TAFT TAFT AND HAIGLER                   TALLENT, BETTY S                          TALLENT, TERRI A
KENNETH HAIGLER                         2135 WEST MAPLE RD                        2135 WEST MAPLE RD
2217 STATONSBURG RD                     TROY MI 48084                             TROY MI 48084
GREENVILLE NC 27834




TATE LAW GROUP LLC                      TATE, LINDA F                             TATHAM, DAFFNEY A
MARK A TATE                             2135 WEST MAPLE RD                        2135 WEST MAPLE RD
2 E BRYAN ST                            TROY MI 48084                             TROY MI 48084
SAVANNAH GA 31401




                                              Page: 55 of 64
                             Case 19-10118-KJC       Doc 2      Filed 01/22/19      Page 59 of 67
TAYLOR, ANGELA K                        TAYLOR, DARRYL W                             TAYLOR, DEWAYNE A
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                           2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                                TROY MI 48084




TAYLOR, GARLAND B                       TAYLOR, TRICIA L                             TENNEY, CHAD E
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                           2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                                TROY MI 48084




THE BASSETT LAW FIRM                    THE BASSETT LAW FIRM                         THE BIFFERATO FIRM PA
355A COMMERCIAL DR                      JOHN D SIMMONS                               CONNOR BIFFERATO
SAVANNAH GA 31406                       355A COMMERCIAL DR                           1007 N ORANGE ST
                                        SAVANNAH GA 31406                            WILMINGTON DE 19801




THE CALWELL PRACTICE PLLC               THE CLARO GROUP LLC                          THE DEATON LAW FIRM
STUART CALWELL                          321 N CLARK ST                               JOHN DEATON
405 CAPITAL ST STE 607                  STE 1200                                     450 NORTH BROADWAY
CHARLESTON WV 25301                     CHICAGO IL 60654                             EAST PROVIDENCE RI 02914




THE DEBRUIN FIRM                        THE DEBRUIN FIRM LLC                         THE FERRARO LAW FIRM
DAVID DEBRUIN                           DAVID DEBRUIN                                DAVID A JAGOLINZER
1201 N ORANGE ST STE 500                405 N KING ST                                600 BRICKELL AVE
WILMINGTON DE 19801                     WILMINGTON DE 19801                          MIAMI FL 33131




THE FERRARO LAW FIRM                    THE GONZALES LAW FIRM PC                     THE GONZALES LAW FIRM PC
600 BRICKELL AVE                        RICHARD GONZALES                             RICHARD GONZALES
STE 3800                                BANK OF AMERICA PLZ                          33 N STONE AVE STE 1410
MIAMI FL 33131                          TUCSON AZ 85701                              TUCSON AZ 85701




THE LAW FIRM OF CARRIE L NEWTON         THE LAW OFFICE OF DOUGLAS P MCMANAMY         THE LAW OFFICES OF PAUL A WEYKAMP
CARRIE L NEWTON                         DOUGLAS P MCMANAMY                           PAUL A WEYKAMP
947 CHARESTON RD                        24 DRAYTON ST                                STE 407
RIPLEY WV 25271                         SAVANNAH GA 31401                            BALTIMORE MD 21202




THE LAW OFFICES OF PAUL A WEYKAMP       THE LAW OFFICES OF PETER T NICHOLL           THE LIPMAN LAW FIRM
PAUL A WEYKAMP                          PETER T NICHOLL                              DAVID M LIPMAN
16 STENERSON LN STE 2                   36 SOUTH CHARLESST STE 1700                  5915 PONCE DE LEON BLVD
HUNT VALLEY MD 21030                    BALTIMORE MD 21201                           CORAL GABLES FL 33146




THE MASTERS LAW FIRM LC                 THE MICHAEL M PHILLIPS LAW FIRM PC           THE MISMAS LAW FIRM LLC
MARVIN W MASTERS                        MICHAEL M PHILLIPS                           JOHN D MISMAS
181 SUMMERS ST                          PO BOX 1030                                  38118 SECOND ST
CHARLESTON WV 25301                     ANGLETON TX 77516                            WILLOUGHBY OH 44094




THE MISMAS LAW FIRM LLC                 THE NEMEROFF LAW FIRM A PROFESSIONAL CORP    THE O'QUINN LAW FIRM
JOHN D MISMAS                           RICHARD NEMEROFF                             RECENTLY DECEASED
37620 STURBRIDGE LN                     21021 SPRINGBROOK PLZ DR                     440 LOUISIANA ST
WILLOUGHBY OH 44094                     SPRING TX 77379                              HOUSTON TX 77002




                                              Page: 56 of 64
                            Case 19-10118-KJC       Doc 2          Filed 01/22/19   Page 60 of 67
THE PARRON FIRM                        THE PARRON FIRM                               THE PAUL LAW FIRM
DAVID D PARRON                         DAVID D PARRON                                JERRY NEIL PAUL
404 EAST FIRST ST                      2312 VILLAGE CIR STE 1813                     1608 FOURTH ST
ARLINGTON TX 76010                     BEDFORD TX 76022                              BERKELEY CA 94710




THE PAUL LAW FIRM                      THE PERICA LAW FIRM PC                        THE RUCKDESCHEL LAW FIRM LLC
JERRY NEIL PAUL                        BOB PERICA                                    JONATHAN RUCKDESCHEL
3011 TOWNSGATE RD STE 450              229 EAST FERGUSON AVE                         8357 MAIN ST
WESTLAKE VILLAGE CA 91361              WOOD RIVER IL 62095                           ELLICOTT CITY MD 21043




THE SHEPARD LAW FIRM PC                THE SIMMONS FIRM                              THE WILLIAMS LAW FIRM PC
MICHAEL SHEPARD                        1 CT ST                                       JOSEPH P WILLIAMS
10 HIGH ST                             ALTON IL 62002                                245 PK AVE 39TH FL
BOSTON MA 02110                                                                      NEW YORK NY 10167




THEARP, SAMUEL T                       THOMAS COON NEWTON FROST                      THOMAS, DELLA A
2135 WEST MAPLE RD                     RAYMOND F THOMAS                              2135 WEST MAPLE RD
TROY MI 48084                          820 SW 2ND AVE STE 200                        TROY MI 48084
                                       PORTLAND OR 97204




THOMAS, DOUGLAS C                      THOMAS, GERALDINE C                           THOMAS, JACK L
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                            2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                                 TROY MI 48084




THOMAS, LINDA A                        THOMAS, RICKY D                               THOMAS, TAMMY M
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                            2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                                 TROY MI 48084




THOMASON, KEVIN F                      THOMPSON HINE FLORY P L L                     THOMPSON, DARRYL F
2135 WEST MAPLE RD                     127 PUBLIC SQUARE                             2135 WEST MAPLE RD
TROY MI 48084                          3900 KEY CTR                                  TROY MI 48084
                                       CLEVELAND OH 44114




THOMPSON, DONALD E                     THOMPSON, DWIANE P                            THOMPSON, GEORGIELLA C
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                            2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                                 TROY MI 48084




THOMPSON, GLENN W                      THOMPSON, HOUSTON F                           THOMPSON, JERRY G
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                            2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                                 TROY MI 48084




THOMPSON, JOHN W                       THOMPSON, LEE L                               THOMPSON, SAMUEL H
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                            2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                                 TROY MI 48084




                                             Page: 57 of 64
                              Case 19-10118-KJC      Doc 2       Filed 01/22/19   Page 61 of 67
THOMPSON, TERRY L                        THOMSON REUTERS WEST                      THORNBURG, DANNY L
2135 WEST MAPLE RD                       PO BOX 6292                               2135 WEST MAPLE RD
TROY MI 48084                            CAROL STREAM IL 60197                     TROY MI 48084




THORNTON LAW FIRM                        TIDMORE, FRANKLIN W                       TILLERY, KOREIN
MICHAEL P THORNTON                       2135 WEST MAPLE RD                        CHAD E BELL
100 SUMMER ST                            TROY MI 48084                             #10 EXECUTIVE WOODS CT
BOSTON MA 02110                                                                    BELLEVILLE IL 62226




TILLERY, KOREIN                          TILLEY, DONNA S                           TILLEY, GERALD L
CHAD E BELL                              2135 WEST MAPLE RD                        2135 WEST MAPLE RD
205 NORTH MICHIGAN AVE STE 1950          TROY MI 48084                             TROY MI 48084
CHICAGO IL 60601




TILLEY, JANET F                          TILLEY, JUDY I                            TILLEY, PATRICIA C
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




TINELL, SUSAN G                          TINKER, JIMMY L                           TINNEL, SHERRILL L
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




TINNELL, TERRI L                         TOMBLIN CARNES MCCORMACK LLP              TOMBLIN CARNES MCCORMACK LLP
2135 WEST MAPLE RD                       TIFFANY TOMBLIN CARNES                    TIFFANY TOMBLIN CARNES
TROY MI 48084                            816 CONGRESS STE 1510                     1715 S CAPITAL OF TEXAS HWY STE 200A
                                         AUSTIN TX 78701                           AUSTIN TX 78746




TOOMBS, RONALD E                         TORTORETI TOMES AND CALLAHAN              TORTORETI TOMES AND CALLAHAN PC
2135 WEST MAPLE RD                       PHILIP TORTORETI                          PHILIP TORTORETI
TROY MI 48084                            577 CRANBURY RD 14B                       150 TICES LN
                                         EAST BRUNSWICK NJ 08816                   EAST BRUNSWICK NJ 08816




TOTO, MICHAEL S                          TOWNSEND, JAMES E                         TOWNSON, FRED L
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




TRACY, HENRIETTA A                       TRAXINGER, RYAN J                         TREADWELL, WILLIAM A
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




TREMBLAY, DONALD J                       TRUSK, LAURA R                            TUCK, TIMOTHY L
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




                                               Page: 58 of 64
                             Case 19-10118-KJC      Doc 2     Filed 01/22/19   Page 62 of 67
TUCKER, DANIEL J                        TUCKER, LONNIE E                        TURNBILL, EDNA S
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                           TROY MI 48084




TURNER, DAVID B                         TURNER, JAMIE T                         TURNER, KRISTY M
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                           TROY MI 48084




TUTTERROW, BOBBIE J                     TUTTERROW, E LYNN                       TYNES LAW FIRM PA
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                      DOUGLAS L MONTE TYNES JR
TROY MI 48084                           TROY MI 48084                           525 KREBS AVE
                                                                                PASCAGOULA MS 39567




TYUS, ANDREW A                          UNDERWOOD, ALONDA A                     UNDERWOOD, ULYESS C
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                           TROY MI 48084




UPTON, DAVID A                          UPTON, JAMES H                          UPTON, JERRY
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                           TROY MI 48084




UPTON, KERRY                            US ATTORNEY FOR DELAWARE                US DEPT OF LABOR
2135 WEST MAPLE RD                      DAVID WEISS                             200 CONSTITUTION AVE NW
TROY MI 48084                           1007 N ORANGE ST                        WASHINGTON DC 20210
                                        STE 700
                                        WILMINGTON DE 19801




US DEPT OF LABOR - OSHA                 US DEPT. OF JUSTICE                     US EPA REG 3 OFFICE OF REG COUNSEL
OSHA REGION 5                           OFFICE OF CHIEF COUNSEL                 BANKRUPTCY DEPT
JOHN C KLUCZYNSKI FEDERAL BLDG          950 PENNSYLVANIA AVENUE NW              1650 ARCH ST
230 SOUTH DEARBORN ST RM 3244           WASHINGTON DC 20530-0001                PHILADELPHIA PA 19103
CHICAGO IL 60604




VANCE, CLARA J                          VANHECKE, JOSEPH M                      VAUGHN, LISA D
2135 WEST MAPLE RD                      2135 WEST MAPLE RD                      2135 WEST MAPLE RD
TROY MI 48084                           TROY MI 48084                           TROY MI 48084




VERITOX INC                             VIARS, CHARLES A                        VIARS, MICHAEL L
18372 REDMOND WAY                       2135 WEST MAPLE RD                      2135 WEST MAPLE RD
REDMOND WA 98052                        TROY MI 48084                           TROY MI 48084




VIEIRA TRIAL LAW                        VINCIL, JOSEPH L                        VINEYARD, REATHA F
ANTHONY E VIERA                         2135 WEST MAPLE RD                      2135 WEST MAPLE RD
920G HAMPSHIRE RD                       TROY MI 48084                           TROY MI 48084
WESTLAKE VILLAGE CA 91361




                                              Page: 59 of 64
                           Case 19-10118-KJC      Doc 2        Filed 01/22/19   Page 63 of 67
VISSE YANEZ LLP                       VISSE AND YANEZ LLP                        VITTATOE, LYNN E
JOSEPH M VISSE                        JOSEPH M VISSE                             2135 WEST MAPLE RD
1335 SUTTER ST                        1375 SUTTER ST                             TROY MI 48084
SAN FRANCISCO CA 94109                SAN FRANCISCO CA 94109




WADDELL ANDERMAN LLC                  WADDELL, MILDRED I                         WADDELL, ROBERT A
CAMERON WADDELL                       2135 WEST MAPLE RD                         2135 WEST MAPLE RD
2222 EASTGATE DR                      TROY MI 48084                              TROY MI 48084
BATON ROUGE LA 70816




WADDELL, TERRIE J                     WAGNER, LOIS A                             WALDEN, CARL J
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                              TROY MI 48084




WALDEN, CHARLES D                     WALKER, ELIZABETH M                        WALL, BUDDY L
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                              TROY MI 48084




WALLACE AND GRAHAM PA                 WALLACE, LARRY D                           WALLACE, ROBERT E
MONA LISA WALLACE                     2135 WEST MAPLE RD                         2135 WEST MAPLE RD
525 NORTH MAIN ST                     TROY MI 48084                              TROY MI 48084
SALISBURY NC 28081




WALLIS, DENNIS R                      WALLS, TOMMY J                             WALTON TELKEN FOSTER LLC
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                         TROY E WALTON
TROY MI 48084                         TROY MI 48084                              241 N MAIN ST
                                                                                 EDWARDSVILLE IL 62025




WAMPLER, MARGARET D                   WAMPLER, TOMMY H                           WARD BLACK LAW
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                         JANET WARD BLACK
TROY MI 48084                         TROY MI 48084                              208 W WENDOVER AVE
                                                                                 GREENSBORO NC 27401-1307




WARD KEENAN AND BARRETT               WARD KEENAN AND BARRETT PC                 WARD, DAVID B
GERALD BARRETT                        GERALD BARRETT                             2135 WEST MAPLE RD
2020 NORTH CENTRAL AVE                3838 N CENTRAL AVE STE 1720                TROY MI 48084
PHOENIX AZ 85004                      PHOENIX AZ 85012




WARD, HUBERT L                        WARD, STEVEN G                             WARD, TIMOTHY K
2135 WEST MAPLE RD                    2135 WEST MAPLE RD                         2135 WEST MAPLE RD
TROY MI 48084                         TROY MI 48084                              TROY MI 48084




WATERS AND KRAUS LLP                  WATKINS, DOYLE L                           WATKINS, JOHN P
PETER A KRAUS                         2135 WEST MAPLE RD                         2135 WEST MAPLE RD
222 NORTH SEPULVEDA BLVD              TROY MI 48084                              TROY MI 48084
EL SEGUNDO CA 90245




                                            Page: 60 of 64
                           Case 19-10118-KJC       Doc 2       Filed 01/22/19   Page 64 of 67
WATKINS, JOHN R                        WATKINS, SHIRLEY D                        WATSON, BRENDA G
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                             TROY MI 48084




WATSON, FREDDY L                       WATSON, JAMES W                           WATSON, JERRY L
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                             TROY MI 48084




WATSON, JOE A                          WATTS, BARBARA S                          WEATHERLY, CAROLYN J
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                             TROY MI 48084




WEBB WEBB AND GUERRY                   WEBB WEBB AND GUERRY                      WEBB, LEROY
155 SECOND AVE NORTH                   CURTIS R WEBB                             2135 WEST MAPLE RD
PO BOX 1768                            155 SECOND AVE NORTH                      TROY MI 48084
TWIN FALLS ID 83303-1768               TWIN FALLS ID 83303




WEBSTER, JAMES Y                       WEINGARTEN, DINO C                        WEINSTEIN COUTURE PLLC
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                        BRIAN WEINSTEIN
TROY MI 48084                          TROY MI 48084                             601 UNION ST STE 2420
                                                                                 SEATTLE WA 98101




WEISS AND SAVILLE PA                   WEISS SAVILLE HOUSER PA                   WEISS, ANAPOL
MICHAEL WEISS                          MICHAEL WEISS                             THOMAS R ANAPOL
1220 NORTH MARKET ST                   1105 N MARKET ST STE 200                  1040 N KINGS HIGHWAY
WILMINGTON DE 19899                    WILMINGTON DE 19899                       CHERRY HILL NJ 08002




WEIST, DENNIS A                        WEITZ AND LUXENBERG PC                    WEITZ AND LUXENBERG PC
2135 WEST MAPLE RD                     PERRY WEITZ                               700 BROADWAY
TROY MI 48084                          1800 CENTURY PK EAST STE 700              NEW YORK NY 10003
                                       LOS ANGELES CA 90067




WEITZ AND LUXENBERG PC                 WELCHEL, MARLENE E                        WELLBORN AND HOUSTON LLP
PERRY WEITZ                            2135 WEST MAPLE RD                        PO BOX 1109
700 BROADWAY                           TROY MI 48084                             HENDERSON TX 75653
NEW YORK NY 10003




WELLBORN HOUSTON ADKISON MANN SADLER   WELLMAN, GEORGE K                         WELLS, BEVERLY M
AND HILL LLP                           2135 WEST MAPLE RD                        2135 WEST MAPLE RD
300 W MAIN ST                          TROY MI 48084                             TROY MI 48084
HENDERSON TX 75652




WEST, VIRGINIA M                       WEST, WALTER L                            WHITAKER, JEFFREY W
2135 WEST MAPLE RD                     2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                          TROY MI 48084                             TROY MI 48084




                                             Page: 61 of 64
                              Case 19-10118-KJC      Doc 2       Filed 01/22/19   Page 65 of 67
WHITE, CHAD A                            WHITE, CONNIE S                           WHITE, EDGAR P
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




WHITE, JAMES L                           WHITE, JOEY E                             WHITE, JOSEPH E
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




WHITE, JUDY A                            WHITE, LEON T                             WHITE, RAYMOND E
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




WHITE, RONALD H                          WHITE, WILLIAM H                          WHITED, DANNY D
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




WICK, CHRISTOPHER L                      WICKER, JACKIE L                          WIGGINS, CHARLES R
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




WILBANKS, TROY T                         WILBRAHAM LAWLER AND BUBA                 WILBURN, TIMOTHY C
2135 WEST MAPLE RD                       1818 MARKET ST                            2135 WEST MAPLE RD
TROY MI 48084                            STE 3100                                  TROY MI 48084
                                         PHILADELPHIA PA 19103-3631




WILENTZ GOLDMAN AND SPITZER              WILKERSON, GREG E                         WILKERSON, JEROME N
STEPHEN A SPITZER                        2135 WEST MAPLE RD                        2135 WEST MAPLE RD
90 WOODBRIDGE CTR DR                     TROY MI 48084                             TROY MI 48084
WOODBRIDGE NJ 07095




WILKINS, JIMMY G                         WILLARD AND SULLIVAN                      WILLARD AND SULLIVAN
2135 WEST MAPLE RD                       GLENDA SULLIVAN                           GLENDA SULLIVAN
TROY MI 48084                            3 RAVINIA DR STE 1700                     2 RAVINIA DR 1630
                                         ATLANTA GA 30346                          ATLANTA GA 30346




WILLEBY, SUSAN D                         WILLIAMS KHERKHER HART AND BOUNDAS LLP    WILLIAMS, BEN W
2135 WEST MAPLE RD                       JOHN EDDIE WILLIAMS JR                    2135 WEST MAPLE RD
TROY MI 48084                            8441 GULF FWY                             TROY MI 48084
                                         HOUSTON TX 77017




WILLIAMS, BRIAN J                        WILLIAMS, GREGORY K                       WILLIAMS, JOHN L
2135 WEST MAPLE RD                       2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                            TROY MI 48084                             TROY MI 48084




                                               Page: 62 of 64
                         Case 19-10118-KJC      Doc 2         Filed 01/22/19   Page 66 of 67
WILLIAMS, KHERKHER                  WILLIAMS, PAUL R                            WILLIAMS, ROBERT P
JOHN EDDIE WILLIAMS JR              2135 WEST MAPLE RD                          2135 WEST MAPLE RD
8441 GULF FWY #600                  TROY MI 48084                               TROY MI 48084
HOUSTON TX 77017




WILLIAMS, ROY W                     WILLIAMS, SHANNON F                         WILLIFORD, JAMES L
2135 WEST MAPLE RD                  2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                       TROY MI 48084                               TROY MI 48084




WILLIFORD, VIRGINIA R               WILLIX, ANGELA M                            WILSON ELSER MOSKOWITZ EDELMAN AND
2135 WEST MAPLE RD                  2135 WEST MAPLE RD                          DICKER LLP
TROY MI 48084                       TROY MI 48084                               DEFENSE FIRM
                                                                                8444 WESTPARK DR STE 510
                                                                                MCLEAN VA 22102




WILSON, E FAYE                      WILSON, GINGER J                            WILSON, JAMES O
2135 WEST MAPLE RD                  2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                       TROY MI 48084                               TROY MI 48084




WILSON, JAMIE S                     WILSON, MARTHA S                            WILSON, PAUL D
2135 WEST MAPLE RD                  2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                       TROY MI 48084                               TROY MI 48084




WILSON, SCOTT G                     WINTERING LAW OFFICE                        WINTERING LAW OFFICES
2135 WEST MAPLE RD                  MIKE WINTERING                              MIKE WINTERING
TROY MI 48084                       1111 SCHROCK RD STE 105                     1103 SCHROCK RD
                                    COLUMBUS OH 43229                           COLUMBUS OH 43229




WITT, AMANDA K                      WITT, NICKY L                               WITT, TANYAH K
2135 WEST MAPLE RD                  2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                       TROY MI 48084                               TROY MI 48084




WODNICKI, LARRY S                   WOMBLES, DAVID R                            WOODS, EUGENE L
2135 WEST MAPLE RD                  2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                       TROY MI 48084                               TROY MI 48084




WOODS, KIMBERLY R                   WOODS, MICHAEL D                            WOODS, MONTY L
2135 WEST MAPLE RD                  2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                       TROY MI 48084                               TROY MI 48084




WOODS, RACHEL M                     WOODS, TERESA A                             WOODY, BOBBY E
2135 WEST MAPLE RD                  2135 WEST MAPLE RD                          2135 WEST MAPLE RD
TROY MI 48084                       TROY MI 48084                               TROY MI 48084




                                          Page: 63 of 64
                               Case 19-10118-KJC       Doc 2      Filed 01/22/19   Page 67 of 67
WOODY, RANDALL J                          WOODY, TONY C                             WOOLARD, TIMOTHY D
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                             TROY MI 48084




WOOLERY, ROBERT J                         WORLEY, REGINA B                          WORLEY, SUSAN C
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                             TROY MI 48084




WYLDER CORWIN KELLY LLP                   WYLDER CORWIN KELLY LLP                   WYSOKER GLASSNER WEINGARTNER GONZALEZ
JAMES R WYLDER                            207 E WASHINGTON ST                       AND LOCKSPEISER
207 E WASHINGTON ST                       STE 102                                   RAUL I GONZALEZ
BLOOMINGTON IL 61701                      BLOOMINGTON IL 61701                      340 GEORGE ST
                                                                                    NEW BRUNSWICK NJ 08901




YATES, DOROTHY M                          YATES, MARGARET A                         YATES, TOMMY
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                             TROY MI 48084




YATES-MATOY, FRANK W                      YOUNG CONAWAY STARGATT & TAYLOR LLP       YOUNG CONAWAY STARGATT & TAYLOR LLP
2135 WEST MAPLE RD                        EDWIN HARRON                              ROBERT BRADY
TROY MI 48084                             RODNEY SQUARE                             RODNEY SQUARE
                                          1000 NORTH KING STREET                    1000 NORTH KING STREET
                                          WILMINGTON DE 19801                       WILMINGTON DE 19801




YOUNG CONAWAY STARGATT AND TAYLOR LLP     YOUNG REVERMAN MAZZEI CO LPA              YOUNG REVERMAN AND MAZZEI CO LPA
RODNEY SQUARE                             MARTIN M YOUNG                            MARTIN M YOUNG
1000 NORTH KING ST                        1243 W 8TH ST 2000                        1014 VINE ST
WILMINGTON DE 19801                       CINCINNATI OH 45203                       CINCINNATI OH 45202




YOUNG, ALAN M                             YOUNG, MARLENA J                          ZIADEH, HELAL J
2135 WEST MAPLE RD                        2135 WEST MAPLE RD                        2135 WEST MAPLE RD
TROY MI 48084                             TROY MI 48084                             TROY MI 48084




ZURICH AMERICAN INSURANCE CO              ZURICH AMERICAN INSURANCE COMPANY         ZURICH INSURANCE COMPANY LTD
ROBERT J KOSCIELNIAK                      STEPTOE & JOHNSON LLP                     RENE KRONENBERG
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                                          WASHINGTON DC 20036                       AUSTRASSE 46
                                                                                    ZURICH CH 8045
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                                                Page: 64 of 64
